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 Fill in this information to identify the case:

 Debtor name                                ASTRALABS Inc

 United States Bankruptcy Court for the:
                                Western District of Texas

 Case number (if known):                23-10164                                                                                      ✔ Check if this is an
                                                                                                                                      ❑
                                                                                                                                         amended filing

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                               12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the
schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those
documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008
and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with
a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



          Declaration and signature

         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual
         serving as a representative of the debtor in this case.
         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

         ❑     Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         ❑     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         ❑     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         ❑     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         ❑     Schedule H: Codebtors (Official Form 206H)

         ❑     A Summary of Assets and Liabilities for Non-Individuals (Official Form 206A-Summary)

         ✔
         ❑     Amended Schedule Conversion Schedules

         ❑     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         ❑     Other document that requires a declaration




         I declare under penalty of perjury that the foregoing is true and correct.



         Executed on     09/13/2023
                          MM/ DD/ YYYY
                                                                            ✘ /s/ Nihar Patel
                                                                                Signature of individual signing on behalf of debtor


                                                                                Nihar Patel
                                                                                Printed name


                                                                                Debtor Representative
                                                                                Position or relationship to debtor



Official Form B202                                 Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                  168
 Fill in this information to identify the case:

 Debtor name                                ASTRALABS Inc

 United States Bankruptcy Court for the:
                                Western District of Texas

 Case number (if known):                23-10164                                                                                   ✔ Check if this is an
                                                                                                                                   ❑
                                                                                                                                      amended filing

Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                               12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in
which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no book value, such as
fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s
name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached,
include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or
depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct
the value of secured claims. See the instructions to understand the terms used in this form.


 Part 1: Cash and cash equivalents


  1.   Does the debtor have any cash or cash equivalents?
       ❑ No. Go to Part 2.
       ✔ Yes. Fill in the information below.
       ❑
       All cash or cash equivalents owned or controlled by the debtor                                                                  Current value of debtor's
                                                                                                                                       interest

  2.   Cash on hand

  3.   Checking, savings, money market, or financial brokerage accounts (Identify all)
       Name of institution (bank or brokerage firm)             Type of account                  Last 4 digits of account number
       3.1 Pacific Western Bank                                     Checking account                        0177                                           $0.00

       Additional Page Total - See continuation page for additional entries                                                                       $200,165.92

  4.   Other cash equivalents (Identify all)
       None

  5.   Total of Part 1
                                                                                                                                                    $200,165.92
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



 Part 2: Deposits and prepayments


  6.   Does the debtor have any deposits or prepayments?
       ❑ No. Go to Part 3.
       ✔ Yes. Fill in the information below.
       ❑
                                                                                                                                       Current value of debtor's
                                                                                                                                       interest
  7.   Deposits, including security deposits and utility deposits
       Description, including name of holder of deposit
       7.1 3423 Holdings, LLC                                                                                                                          $42,000.00




Official Form 206A/B                                        Schedule A/B: Assets — Real and Personal Property                                          page 1
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Debtor        ASTRALABS Inc                                                                                      Case number (if known)            23-10164
             Name


  8.   Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
       Description, including name of holder of prepayment

       None


  9.   Total of Part 2
                                                                                                                                                       $42,000.00
       Add lines 7 through 8 (including amounts on any additional sheets). Copy the total to line 81.



 Part 3: Accounts receivable


  10. Does the debtor have any accounts receivable?
         ❑ No. Go to Part 4.
         ✔ Yes. Fill in the information below.
         ❑

                                                                                                                                          Current value of debtor's
                                                                                                                                          interest

  11. Accounts Receivable

         11a. 90 days old or less:                                      -                                           = ...... ➔
                                     face amount                            doubtful or uncollectible accounts



         11b. Over 90 days old:                    $0.00                -                  $0.00                    = ...... ➔                        $829,650.58
                                     face amount                            doubtful or uncollectible accounts


  12. Total of Part 3
                                                                                                                                                      $829,650.58
         Current value on lines 11a + 11b = line 12. Copy the total to line 82.



 Part 4: Investments


  13. Does the debtor own any investments?
         ❑ No. Go to Part 5.
         ✔ Yes. Fill in the information below.
         ❑

                                                                                                         Valuation method used for        Current value of debtor's
                                                                                                         current value                    interest

  14. Mutual funds or publicly traded stocks not included in Part 1
         Name of fund or stock:

         None


  15. Non-publicly traded stock and interests in incorporated and unincorporated
      businesses, including any interest in an LLC, partnership, or joint venture
         Name of fund or stock:                                                     % of
                                                                                    ownership:
         15.1 8 Myles Inc                                                              2.00%                                                           (Unknown)


         Additional Page Total - See continuation page for additional entries                                                                                 $0.00




Official Form 206A/B                                         Schedule A/B: Assets — Real and Personal Property                                           page 2
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             Name



  16. Government bonds, corporate bonds, and other negotiable and non-negotiable
      instruments not included in Part 1
         Describe:

         16.1 Warrants (4,135)                                                                          Value unknown                             (Unknown)


  17. Total of Part 4
                                                                                                                                                         $0.00
         Add lines 14 through 16 (including any additional sheets). Copy the total to line 83.



 Part 5: Inventory, excluding agriculture assets


  18. Does the debtor own any inventory (excluding agriculture assets)?
         ✔ No. Go to Part 6.
         ❑
         ❑ Yes. Fill in the information below.

         General description                                Date of the last        Net book value of     Valuation method used      Current value of debtor's
                                                            physical inventory      debtor's interest     for current value          interest
                                                                                    (Where available)


  19. Raw materials

         None

  20. Work in progress

         None

  21. Finished goods, including goods held for resale

         None

  22. Other inventory or supplies

         None

  23. Total of Part 5
         Add lines 19 through 22 (including any additional sheets). Copy the total to line 84.                                                           $0.00


  24. Is any of the property listed in Part 5 perishable?
         ✔ No
         ❑
         ❑ Yes
  25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
         ✔ No
         ❑
         ❑ Yes
  26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)




Official Form 206A/B                                         Schedule A/B: Assets — Real and Personal Property                                      page 3
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Debtor       ASTRALABS Inc                                                                               Case number (if known)            23-10164
             Name



  27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
         ✔ No. Go to Part 7.
         ❑
         ❑ Yes. Fill in the information below.

         General description                                                       Net book value of    Valuation method used     Current value of debtor's
                                                                                   debtor's interest    for current value         interest
                                                                                   (Where available)


  28. Crops — either planted or harvested

         None


  29. Farm animals Examples: Livestock, poultry, farm-raised fish

         None


  30. Farm machinery and equipment (Other than titled motor vehicles)

         None

  31. Farm and fishing supplies, chemicals, and feed

         None


  32. Other farming and fishing-related property not already listed in Part 6

         None

  33. Total of Part 6
         Add lines 28 through 32. Copy the total to line 85.                                                                                          $0.00


  34. Is the debtor a member of an agricultural cooperative?
         ✔ No
         ❑
         ❑ Yes. Is any of the debtor's property stored at the cooperative?
             ❑ No
             ❑ Yes

  35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
         ✔ No
         ❑
         ❑ Yes
  36. Is a depreciation schedule available for any of the property listed in Part 6?
         ✔ No
         ❑
         ❑ Yes
  37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 7: Office furniture, fixtures, and equipment; and collectibles




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             Name



  38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
         ❑ No. Go to Part 8.
         ✔ Yes. Fill in the information below.
         ❑

         General description                                                       Net book value of    Valuation method used     Current value of debtor's
                                                                                   debtor's interest    for current value         interest
                                                                                   (Where available)


  39. Office furniture

         39.1 Desks (100)                                                                  (Unknown)    Fair Market Value                       $5,000.00


         Additional Page Total - See continuation page for additional entries                                                                   $7,050.00

  40. Office fixtures

         None


  41. Office equipment, including all computer equipment and
      communication systems equipment and software

         41.1 Printer (1)                                                                  (Unknown)    Fair Market Value                          $50.00


         Additional Page Total - See continuation page for additional entries                                                                   $7,500.00

  42. Collectibles Examples: Antiques and figurines; paintings, prints or
      other artwork; books, pictures, or other art objects; china and crystal;
      stamp, coin, or baseball card collections; other collections,
      memorabilia, or collectibles

         None


  43. Total of Part 7
                                                                                                                                               $19,600.00
         Add lines 39 through 42. Copy the total to line 86.

  44. Is a depreciation schedule available for any of the property listed in Part 7?
         ✔ No
         ❑
         ❑ Yes
  45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 8: Machinery, equipment, and vehicles


  46. Does the debtor own or lease any machinery, equipment, or vehicles?
         ✔ No. Go to Part 9.
         ❑
         ❑ Yes. Fill in the information below.
         General description                                                       Net book value of    Valuation method used     Current value of debtor's
         Include year, make, model, and identification numbers (i.e., VIN, HIN,    debtor's interest    for current value         interest
         or N-number)                                                              (Where available)




Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 5
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Debtor        ASTRALABS Inc                                                                                  Case number (if known)            23-10164
             Name



  47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm
      vehicles

         None


  48. Watercraft, trailers, motors, and related accessories Examples:
      Boats, trailers, motors, floating homes, personal watercraft, and fishing
      vessels

         None


  49. Aircraft and accessories

         None


  50. Other machinery, fixtures, and equipment (excluding farm machinery
      and equipment)

         None


  51. Total of Part 8
                                                                                                                                                          $0.00
         Add lines 47 through 50. Copy the total to line 87.

  52. Is a depreciation schedule available for any of the property listed in Part 8?
         ✔ No
         ❑
         ❑ Yes

  53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 9: Real Property


  54. Does the debtor own or lease any real property?
         ✔ No. Go to Part 10.
         ❑
         ❑ Yes. Fill in the information below.

         General description                                    Nature and extent of Net book value of     Valuation method used      Current value of debtor's
         Include street address or other description such as    debtor's interest in debtor's interest     for current value          interest
         Assessor Parcel Number (APN), and type of property     property             (Where available)
         (for example, acreage, factory, warehouse, apartment
         or office building), if available


  55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has interest

         None


  56. Total of Part 9
                                                                                                                                                          $0.00
         Add the current value on lines 55.1 through 55.3 and entries from any addition sheets. Copy the total to line 88.

  57. Is a depreciation schedule available for any of the property listed in Part 9?
         ✔ No
         ❑
         ❑ Yes
Official Form 206A/B                                            Schedule A/B: Assets — Real and Personal Property                                    page 6
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Debtor       ASTRALABS Inc                                                                               Case number (if known)            23-10164
             Name


  58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 10: Intangibles and Intellectual Property


  59. Does the debtor have any interests in intangibles or intellectual property?
         ❑ No. Go to Part 11.
         ✔ Yes. Fill in the information below.
         ❑

         General description                                                       Net book value of    Valuation method used     Current value of debtor's
                                                                                   debtor's interest    for current value         interest
                                                                                   (Where available)


  60. Patents, copyrights, trademarks, and trade secrets

         None

  61. Internet domain names and websites

         61.1 www.astralabs.com                                                            (Unknown)                                                  $1.00


         Additional Page Total - See continuation page for additional entries                                                                         $1.00

  62. Licenses, franchises, and royalties

         None

  63. Customer lists, mailing lists, or other compilations

         63.1 Customer Lists value unknown                                                 (Unknown)                                           (Unknown)


  64. Other intangibles, or intellectual property

         None

  65. Goodwill

         None


  66. Total of Part 10
                                                                                                                                                      $2.00
         Add lines 60 through 65. Copy the total to line 89.

  67. Do your lists or records include personally identifiable information of customers? (as defined in 11 U.S.C. §§ 101(41A) and 107)
         ❑ No
         ✔ Yes
         ❑
  68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         ✔ No
         ❑
         ❑ Yes
  69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes

Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 7
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Debtor        ASTRALABS Inc                                                                              Case number (if known)            23-10164
             Name




 Part 11: All other assets


  70. Does the debtor own any other assets that have not yet been reported on this form?
         ❑ No. Go to Part 12.
         ✔ Yes. Fill in the information below.
         ❑

                                                                                                                                  Current value of debtor's
                                                                                                                                  interest

  71. Notes receivable
         Description (include name of obligor)

         None


  72. Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)

         None


  73. Interests in insurance policies or annuities

         None


  74. Causes of action against third parties (whether or not a lawsuit has been filed)

              Theft of customer data, IP, and assets as well as breach of                                                                      (Unknown)
              non-competes and contracts by prior Employees as listed in
              all CRM export software (Hubspot, Salesforce, etc). Unpaid
              warrants that customers owe us monies in regard to exits of
         74.1 their compan

         Nature of Claim
         Amount Requested        (Unknown)


  75. Other contingent and unliquidated claims or causes of action of every nature,
      including counterclaims of the debtor and rights to set off claims

         None


  76. Trusts, equitable or future interests in property

         None


  77. Other property of any kind not already listed Examples: Season tickets,
      country club membership

         None


  78. Total of Part 11
                                                                                                                                                      $0.00
         Add lines 71 through 77. Copy the total to line 90.

  79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes

Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 8
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Debtor        ASTRALABS Inc                                                                                                          Case number (if known)            23-10164
              Name


 Part 12: Summary


         Type of property                                                                    Current value of                            Current value
                                                                                             personal property                           of real property


  80. Cash, cash equivalents, and financial assets. Copy line 5,
      Part 1.                                                                                             $200,165.92

  81. Deposits and prepayments. Copy line 9, Part 2.                                                        $42,000.00

  82. Accounts receivable. Copy line 12, Part 3.                                                          $829,650.58

  83. Investments. Copy line 17, Part 4.                                                                              $0.00

  84. Inventory. Copy line 23, Part 5.                                                                                $0.00

  85. Farming and fishing-related assets. Copy line 33, Part 6.                                                       $0.00

  86. Office furniture, fixtures, and equipment; collectibles. Copy
      line 43, Part 7.                                                                                      $19,600.00

  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                       $0.00


                                                                                                                                ➔                              $0.00
  88. Real property. Copy line 56, Part 9..........................................................................

  89. Intangibles and intellectual property. Copy line 66, Part 10.                                                   $2.00

  90. All other assets. Copy line 78, Part 11.                                          +                             $0.00



  91. Total. Add lines 80 through 90 for each column......                          91a.                $1,091,418.50         + 91b.                           $0.00



                                                                                                                                                                          $1,091,418.50
  92. Total of all property on Schedule A/B. Lines 91a + 91b = 92 .................................................................................................




Official Form 206A/B                                                    Schedule A/B: Assets — Real and Personal Property                                                 page 9
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          Additional Page


       All cash or cash equivalents owned or controlled by the debtor                                                           Current value of debtor's
                                                                                                                                interest

  3.   Checking, savings, money market, or financial brokerage accounts - Continued
       Name of institution (bank or brokerage firm)        Type of account                  Last 4 digits of account number
       3.2 Pacific Western Bank                                 Checking account                        7932                                   $100.00

       3.3 Pacific Western Bank                                 Checking account                        0060                                      $0.00

       3.4 SVB                                                  Checking account                        5517                                      $0.00

       3.5 Pacific Western Bank                                 Checking account                        8056                               $200,065.92


                                                                                                  Valuation method used for     Current value of debtor's
                                                                                                  current value                 interest

  15. Non-publicly traded stock and interests in incorporated and unincorporated
      businesses, including any interest in an LLC, partnership, or joint venture - Continued
         Name of fund or stock:                                              % of
                                                                             ownership:
         15.2 FYNCR Inc.                                                        2.00%                                                        (Unknown)

              Joule Case II EB (THE "SPV") a series of Wefunder SPV,
         15.3 LLC                                                               2.00%                                                        (Unknown)

         15.4 Ponto LLC                                                         2.00%                                                        (Unknown)

         15.5 Ruben Oliver LLC                                                  2.00%                                                        (Unknown)

         15.6 SuperPhone                                                        2.00%                                                        (Unknown)

         15.7 Univoice Corporation                                              2.00%                                                        (Unknown)

         15.8 Vitality RX                                                       2.00%                                                        (Unknown)

         15.9 Watershed Medical, Inc.                                           2.00%                                                        (Unknown)

         15.10 Kingscrowd Shares (2,167,610                                     100.00%                                                      (Unknown)


         General description                                                  Net book value of      Valuation method used      Current value of debtor's
                                                                              debtor's interest      for current value          interest
                                                                              (Where available)

  39. Office furniture - Continued
         39.2 Chairs (100)                                                              (Unknown)     Fair Market Value                       $4,500.00

         39.3 Filing Cabinets (5)                                                       (Unknown)     Fair Market Value                          $50.00

         39.4 Tables (10)                                                               (Unknown)     Fair Market Value                       $2,500.00

  41. Office equipment - Continued
         41.2 Monitors (150)                                                            (Unknown)     Fair Market Value                       $7,500.00

         General description                                                  Net book value of      Valuation method used      Current value of debtor's
                                                                              debtor's interest      for current value          interest
                                                                              (Where available)

  61. Internet domain names and websites - Continued
         61.2 https://newchip.com/                                                      (Unknown)     Fair Market Value                             $1.00




Official Form 206A/B                                    Schedule A/B: Assets — Real and Personal Property                                    page 10
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 Fill in this information to identify the case:

     Debtor name     ASTRALABS Inc

     United States Bankruptcy Court for the:                 Western                 District of             Texas
                                                                                                   (State)
     Case number (if known):      23-10164                                                                                                           ✔ Check if this is an
                                                                                                                                                     ❑
                                                                                                                                                          amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                  12/15

Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor’s property?
       ❑ No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
       ✔ Yes. Fill in all of the information below.
       ❑
     Part 1:        List Creditors Who Have Secured Claims

 2.     List in alphabetical order all creditors who have secured claims. If a creditor has more                           Column A                        Column B
        than one secured claim, list the creditor separately for each claim.                                               Amount of claim                 Value of collateral
                                                                                                                           Do not deduct the value         that supports this
                                                                                                                           of collateral.                  claim

2.1 Creditor’s name                                          Describe debtor’s property that is subject to a
                                                             lien                                                                           $663,000.00              unknown
         Apex Funding Source, LLC

        Creditor’s mailing address
         3050 Biscayne Blvd Suite 502
         Miami, FL 33137
                                                             Describe the lien
        Creditor’s email address, if known                   Merchant Cash Advance

                                                             Is the creditor an insider or related party?
        Date debt was                    1/26/2023           ✔ No
                                                             ❑
        incurred
                                                             ❑ Yes
        Last 4 digits of                                     Is anyone else liable on this claim?
        account
        number
                                                             ❑ No
                                                             ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                             ❑
        Do multiple creditors have an interest
        in the same property?                  As of the petition filing date, the claim is:

        ✔ No
                                                             Check all that apply.
        ❑
        ❑ Yes. Specify each creditor, including this         ❑ Contingent
                 creditor, and its relative priority.        ❑ Unliquidated
                                                             ✔ Disputed
                                                             ❑




 3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the                                             $1,898,224.25
        Additional
        Page, if any.


Official Form 206D                                      Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 3
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Debtor      ASTRALABS Inc                                                                          Case number (if known) 23-10164
           Name




  Part 1:         Additional Page                                                                                   Column A                       Column B
                                                                                                                    Amount of claim                Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                    Do not deduct the value        that supports this
 from the
                                                                                                                    of collateral.                 claim
 previous page.

2.2 Creditor’s name                                   Describe debtor’s property that is subject to a
                                                      lien                                                                           $715,823.00            unknown
      Iruka Capital

     Creditor’s mailing address
      162 Elmora Ave #211
      Elizabeth, NJ 07202
                                                      Describe the lien
     Creditor’s email address, if known               Merchant Cash Advance

                                                      Is the creditor an insider or related party?
     Date debt was                                    ✔ No
                                                      ❑
     incurred
                                                      ❑ Yes
     Last 4 digits of                                 Is anyone else liable on this claim?
     account
     number
                                                      ❑ No
                                                      ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                      ❑
     Do multiple creditors have an interest
     in the same property?                  As of the petition filing date, the claim is:

     ✔ No
                                                      Check all that apply.
     ❑
     ❑ Yes. Have you already specified the            ❑ Contingent
               relative priority?                     ❑ Unliquidated
          ❑ No. Specify each creditor, including      ✔ Disputed
                                                      ❑
                   this creditor, and its relative
                   priority.



          ❑ Yes. The relative priority of creditors
                   is specified on lines




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 2 of 3
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Debtor      ASTRALABS Inc                                                                          Case number (if known) 23-10164
           Name




  Part 1:         Additional Page                                                                                   Column A                       Column B
                                                                                                                    Amount of claim                Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                    Do not deduct the value        that supports this
 from the
                                                                                                                    of collateral.                 claim
 previous page.

2.3 Creditor’s name                                   Describe debtor’s property that is subject to a
                                                      lien                                                                           $519,401.25            unknown
      U.S. Small Business Administration

     Creditor’s mailing address
      200 W. Santa Ana Blvd 740
      Santa Ana, CA 92701
                                                      Describe the lien
     Creditor’s email address, if known               Secured SBA loan

                                                      Is the creditor an insider or related party?
     Date debt was                                    ✔ No
                                                      ❑
     incurred
                                                      ❑ Yes
     Last 4 digits of                                 Is anyone else liable on this claim?
     account
                                                      ✔ No
                                                      ❑
     number
                                                      ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Do multiple creditors have an interest
     in the same property?                  As of the petition filing date, the claim is:

     ✔ No
                                                      Check all that apply.
     ❑
     ❑ Yes. Have you already specified the            ❑ Contingent
               relative priority?                     ❑ Unliquidated
          ❑ No. Specify each creditor, including      ❑ Disputed
                   this creditor, and its relative
                   priority.



          ❑ Yes. The relative priority of creditors
                   is specified on lines




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 3 of 3
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 Fill in this information to identify the case:

 Debtor name                                ASTRALABS Inc

 United States Bankruptcy Court for the:
                                Western District of Texas

 Case number (if known):                23-10164                                                                                   ✔ Check if this is an
                                                                                                                                   ❑
                                                                                                                                      amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                             12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets
- Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases(Official Form 206G). Number the entries
in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1: List All Creditors with PRIORITY Unsecured Claims

  1.    Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507)
        ❑ No. Go to Part 2.
        ✔ Yes. Go to line 2.
        ❑
 2.    List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
       with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                              Total claim                  Priority amount

2.1 Priority creditor’s name and mailing address             As of the petition filing date, the claim is:    $97.17                        $97.17
                                                             Check all that apply.
       Massachusetts Department of Revenue
                                                             ❑ Contingent
       PO Box 7090                                           ❑ Unliquidated
       Boston, MA 02204-7090
                                                             ❑ Disputed
                                                             Basis for the Claim:
       Date or dates debt was incurred
                                                              Tax Due

                                                             Is the claim subject to offset?
       Last 4 digits of account                              ✔ No
                                                             ❑
       number                                                ❑ Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (8)
       Priority creditor’s name and mailing address          As of the petition filing date, the claim is:
2.2                                                          Check all that apply.
                                                             ❑ Contingent
                                                             ❑ Unliquidated
                                                             ❑ Disputed
                                                             Basis for the claim:
       Date or dates debt was incurred


                                                             Is the claim subject to offset?
       Last 4 digits of account
                                                             ❑ No
       number
                                                             ❑ Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a)




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             Name

 Part 2: List All Creditors with NONPRIORITY Unsecured Claims

  3.     List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured
         claims, fill out and attach the Additional Page of Part 2.
                                                                                                                                       Amount of claim

3.1 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $304,000.00
                                                                            Check all that apply.
       1000 Solano Drive
                                                                            ❑ Contingent
                                                                            ❑ Unliquidated
       1000 Solano Drive
                                                                            ✔ Disputed
                                                                            ❑
       Austin, TX 78750
                                                                            Basis for the claim: Employee
                                                                            Is the claim subject to offset?
       Date or dates debt was incurred                                      ✔ No
                                                                            ❑
       Last 4 digits of account number
                                                                            ❑ Yes

3.2 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $8,000.00
                                                                            Check all that apply.
       2938 Westlake Cove Dr                                                ✔ Contingent
                                                                            ❑
                                                                            ✔ Unliquidated
                                                                            ❑
       2938 Westlake Cove Dr
                                                                            ✔ Disputed
                                                                            ❑
       Austin, TX 78746
                                                                            Basis for the claim: Investor Note
                                                                            Is the claim subject to offset?
       Date or dates debt was incurred                                      ✔ No
                                                                            ❑
       Last 4 digits of account number
                                                                            ❑ Yes

3.3 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $8,000.00
                                                                            Check all that apply.
       360X Music AG                                                        ✔ Contingent
                                                                            ❑
                                                                            ✔ Unliquidated
                                                                            ❑
       Revaler Strasse 99
                                                                            ✔ Disputed
                                                                            ❑
       10245 Berlin, Germany,
                                                                            Basis for the claim: Customer
                                                                            Is the claim subject to offset?
       Date or dates debt was incurred                                      ✔ No
                                                                            ❑
       Last 4 digits of account number
                                                                            ❑ Yes

       Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              $7,500.00
3.4                                                                         Check all that apply.
       3Common Inc.                                                         ✔ Contingent
                                                                            ❑
                                                                            ✔ Unliquidated
                                                                            ❑
       46 Sunset Blvd
       Winnipeg, Manitoba                                                   ✔ Disputed
                                                                            ❑
       Canada, R2M0X4                                                       Basis for the claim: Customer
                                                                            Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes

       Date or dates debt was incurred

       Last 4 digits of account number




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           Name




 Part 2: Additional Page

3.5 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $420.00
                                                                       Check all that apply.
      Aaron William Naft                                               ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
      4306 N Quinlan Park Road Apt 3201
                                                                       ✔ Disputed
                                                                       ❑
      Austin, TX 78732
                                                                       Basis for the claim: Employee
                                                                       Is the claim subject to offset?
      Date or dates debt was incurred                                  ✔ No
                                                                       ❑
      Last 4 digits of account number
                                                                       ❑ Yes

3.6 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $1,666.66
                                                                       Check all that apply.
      Abdelkader Hamdoune
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
      373 Belmont Street #4
                                                                       ✔ Disputed
                                                                       ❑
      Oakland, CA 94610
                                                                       Basis for the claim: Unknown
                                                                       Is the claim subject to offset?
      Date or dates debt was incurred                                  ✔ No
                                                                       ❑
      Last 4 digits of account number
                                                                       ❑ Yes

3.7 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $10,800.00
                                                                       Check all that apply.
      ActivArmor                                                       ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
      2828 Granada Blvd
                                                                       ✔ Disputed
                                                                       ❑
      Pueblo, CO 81005
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
      Date or dates debt was incurred                                  ✔ No
                                                                       ❑
      Last 4 digits of account number
                                                                       ❑ Yes

      Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:              $3,267.00
3.8                                                                    Check all that apply.
      Acuity Risk Consultants, Inc.                                    ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
      270 Spagnoli Road Suite 205
                                                                       ✔ Disputed
                                                                       ❑
      Melville, NY 11747
                                                                       Basis for the claim: Services never delivered
                                                                       Is the claim subject to offset?
      Date or dates debt was incurred                                  ✔ No
                                                                       ❑
      Last 4 digits of account number
                                                                       ❑ Yes




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 Part 2: Additional Page

3.9      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $10,000.00
                                                                       Check all that apply.
         Adam Perlman                                                  ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         220 North Wind Ct
                                                                       ✔ Disputed
                                                                       ❑
         Ponte Vedra Beach, FL 32082
                                                                       Basis for the claim: Equity
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.10 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $7,500.00
                                                                       Check all that apply.
         Adam Yoke                                                     ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         1541 Ford Avenue
                                                                       ✔ Disputed
                                                                       ❑
         Redondo Beach, CA 90278
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.11 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $3,750.00
                                                                       Check all that apply.
         Addison Jacoby                                                ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         1011 E 5th Street unit 1526
                                                                       ✔ Disputed
                                                                       ❑
         Austin, TX 78702
                                                                       Basis for the claim: Unknown
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $270.00
3.12                                                                   Check all that apply.
         Adrianna Bertoia
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         4701 Walnut Street
                                                                       ✔ Disputed
                                                                       ❑
         Oakland, CA 94619
                                                                       Basis for the claim: Unknown
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.13 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $8,000.00
                                                                       Check all that apply.
         Adventureland Toy Emporium LLC                                ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         1344 Carroll Ave
                                                                       ✔ Disputed
                                                                       ❑
         Los Angeles, CA 90026
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.14 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $12,056.00
                                                                       Check all that apply.
         Adwait Muthal
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         7 Wainwright Rd Unit 80
                                                                       ✔ Disputed
                                                                       ❑
         Winchester, MA 01890-2381
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.15 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $3,999.00
                                                                       Check all that apply.
         Agora Solutions Software Kft                                  ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         60 Szv Street
                                                                       ✔ Disputed
                                                                       ❑
         4551, Nyregyhza, Hungary,
                                                                                            Refund for unfulfilled
                                                                       Basis for the claim: services
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $3,999.00
3.16                                                                   Check all that apply.
         Agora Solutions Software Kft                                  ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         60 Szv Street
                                                                       ✔ Disputed
                                                                       ❑
         4551, Nyregyhza, Hungary,
                                                                                            Refund for unfulfilled
                                                                       Basis for the claim: services
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes
         Remarks: Duplicate Claim filed




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             Name




 Part 2: Additional Page

3.17 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $8,000.00
                                                                       Check all that apply.
         AiDLT Global Limited                                          ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         30 Dredge Court
                                                                       ✔ Disputed
                                                                       ❑
         Milton, Ontario, Canada L9T8T1,
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.18 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $8,000.00
                                                                       Check all that apply.
         AKA Exchange Ltd.                                             ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         9 Rue de Maupertuis
         St Clement                                                    ✔ Disputed
                                                                       ❑
         JE2 6NG                                                       Basis for the claim: Customer
         United Kingdom
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes


         Date or dates debt was incurred

         Last 4 digits of account number

3.19 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $10,000.00
                                                                       Check all that apply.
         Albert Balady
                                                                       ❑ Contingent
         208 Ackerman Ave                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Ho Ho Kus, NJ 07423-1006
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/18/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $1,500.00
3.20                                                                   Check all that apply.
         Aldo de Jong                                                  ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         299 Glenalake Ave #2301
                                                                       ✔ Disputed
                                                                       ❑
         Toronto, ON M6P4A6 Canada,
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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             Name




 Part 2: Additional Page

3.21 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $2,000.00
                                                                       Check all that apply.
         Alexander Clarence McIntosh
                                                                       ❑ Contingent
         1047 East Spazier Ave. Apt. # L                               ❑ Unliquidated
                                                                       ❑ Disputed
         Burbank, CA 91502
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/12/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.22 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $497.75
                                                                       Check all that apply.
         Alexander Groenen
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         Cerberusstraat 34
                                                                       ✔ Disputed
                                                                       ❑
         3543XR Rosmalen, The Netherlands,
                                                                                            181 shares via
                                                                       Basis for the claim: crowdfunding
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes
3.23 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $6,000.00
                                                                       Check all that apply.
         Alexander Monsell                                             ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         4489 E Florida Ave
                                                                       ✔ Disputed
                                                                       ❑
         Denver, CO 80222
                                                                       Basis for the claim: Unknown
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $7,410.80
3.24                                                                   Check all that apply.
         Alexander Seery
                                                                       ❑ Contingent
         925 Rolfe Place                                               ❑ Unliquidated
                                                                       ❑ Disputed
         Alexandria, VA 22314
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/31/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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 Part 2: Additional Page

3.25 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $18,660.00
                                                                       Check all that apply.
         Alexander Seery
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         925 Rolfe Place
                                                                       ✔ Disputed
                                                                       ❑
         Alexandria, VA 22314
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.26 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
         Alexandra Cherwa aka Jonathan Cherwa
                                                                       ❑ Contingent
         15907 91st Ave Ct E                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Puyallup, WA 98375
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.27 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $2,500.00
                                                                       Check all that apply.
         Alexandre Sylvestre
                                                                       ❑ Contingent
         609 Tower Dr.                                                 ❑ Unliquidated
                                                                       ❑ Disputed
         Edgewater, NJ 07020
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/31/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $8,000.00
3.28                                                                   Check all that apply.
         Alijah Pacina
                                                                       ❑ Contingent
                                                                       ✔ Unliquidated
                                                                       ❑
         3216 Lasker Avenue
                                                                       ✔ Disputed
                                                                       ❑
         Waco, TX 76707
                                                                       Basis for the claim: Employee
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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 Part 2: Additional Page

3.29 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $7,500.00
                                                                       Check all that apply.
         Alladin Ammouri                                               ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         2445 Avis Street
                                                                       ✔ Disputed
                                                                       ❑
         Mesquite, TX 75149
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.30 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $4,000.00
                                                                       Check all that apply.
         Altelium Ltd                                                  ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         Office 4, Perch Studios, Wesley Lane
         Bicester, United Kingdom, OX26 6JU                            ✔ Disputed
                                                                       ❑
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.31 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $12,000.00
                                                                       Check all that apply.
         Alyve Medical Inc                                             ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         600 S Cherry Street Suite 115
                                                                       ✔ Disputed
                                                                       ❑
         Denver, CO 80246
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $12,000.00
3.32                                                                   Check all that apply.
         Amalfi Jets Inc.                                              ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         30851 Agoura Road Suite 305
                                                                       ✔ Disputed
                                                                       ❑
         Agoura Hills, CA 91301
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.33 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $11,150.00
                                                                       Check all that apply.
         Andrew Maniaci
                                                                       ❑ Contingent
         3905 Black Granite Drive                                      ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78744
                                                                       Basis for the claim: Employee
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.34 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $204,520.33
                                                                       Check all that apply.
         Andrew Maniaci
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         3905 Black Granite Drive
                                                                       ✔ Disputed
                                                                       ❑
         Austin, TX 78744
                                                                       Basis for the claim: Equity Shares
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.35 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $10,000.00
                                                                       Check all that apply.
         Andrew Ryan
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         c/o Ron Satija
         Hayward PLLC                                                  ✔ Disputed
                                                                       ❑
                                                                       Basis for the claim: Employee
         7600 Burnet Rd Suite 530
                                                                       Is the claim subject to offset?
         Austin, TX 78757                                              ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $17,500.00
3.36                                                                   Check all that apply.
         Andromeda360                                                  ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         6001 W Parmer Lane Suite 370 897
                                                                       ✔ Disputed
                                                                       ❑
         Austin, TX 78727
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.37 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
         Angel Johnson                                                 ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         2220 Leesborough Drive
                                                                       ✔ Disputed
                                                                       ❑
         Silver Spring, MD 20902
                                                                       Basis for the claim: Equity Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.38 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $2,000.00
                                                                       Check all that apply.
         Anthony Eseau Flores Kuffo
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         91 Red River Street
                                                                       ✔ Disputed
                                                                       ❑
         Austin, TX 78701
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.39 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $10,560.14
                                                                       Check all that apply.
         Anthony Runnels
                                                                       ❑ Contingent
         12024 Rock Creek Ct.                                          ❑ Unliquidated
                                                                       ❑ Disputed
         Hawthorne, CA 90250
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/18/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $10,000.00
3.40                                                                   Check all that apply.
         Anthony Runnels
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         12024 Rock Creek Ct.
                                                                       ✔ Disputed
                                                                       ❑
         Hawthorne, CA 90250
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.41 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $30,000.00
                                                                       Check all that apply.
         Anthony Veloso
                                                                       ❑ Contingent
         730 Mason Road                                                ❑ Unliquidated
                                                                       ❑ Disputed
         Jefferson, MA 01522
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/26/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.42 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $5,099.90
                                                                       Check all that apply.
         Antonello Loddo
                                                                       ❑ Contingent
         205 Ridge Ave                                                 ❑ Unliquidated
                                                                       ❑ Disputed
         Gettysburg, PA 17325
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/26/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.43 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $10,000.00
                                                                       Check all that apply.
         Anu Santhanagopal
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         12 Brittany Way
                                                                       ✔ Disputed
                                                                       ❑
         Kendall Park, NJ 08824
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/31/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $1,000.00
3.44                                                                   Check all that apply.
         Anuj Jain aka Anmol Jain
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         620 W 42n ST Apt S06G
                                                                       ✔ Disputed
                                                                       ❑
         New York, NY 10036
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/15/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.45 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $10,680.88
                                                                       Check all that apply.
         Aramark Refreshments Services, LLC
                                                                       ❑ Contingent
         Attn: Hawley Troxell Ennis & Hawley LLP                       ❑ Unliquidated
                                                                       ❑ Disputed
         PO Box 1617                                                   Basis for the claim: Vendor
         Boise, ID 83701                                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.46 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $20,000.00
                                                                       Check all that apply.
         Archilyse AG                                                  ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         c/o Matthias Standfest
                                                                       ✔ Disputed
                                                                       ❑
         Flelastrasse 31B                                              Basis for the claim: Customer
         8047 Zurich, Switzerland ,                                    Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.47 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              unknown
                                                                       Check all that apply.
         Arianna Violante
                                                                       ❑ Contingent
         7203 Bassett Court
                                                                       ✔ Unliquidated
                                                                       ❑
                                                                       ❑ Disputed
         Austin, TX 78704
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              unknown
3.48                                                                   Check all that apply.
         Arik Paran
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         866 Helena Dr.
                                                                       ✔ Disputed
                                                                       ❑
         Sunnyvale, CA 94087
                                                                       Basis for the claim: Equity
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.49 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $8,000.00
                                                                       Check all that apply.
         Arlequin Finance SAS                                          ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         23 Rue Victor Hugo
                                                                       ✔ Disputed
                                                                       ❑
         69002 Lyon, France,
                                                                                            Refund for the purchase
                                                                                            of a service that were not
         Date or dates debt was incurred                               Basis for the claim: delivered or provided
                                                                       Is the claim subject to offset?
         Last 4 digits of account number                               ✔ No
                                                                       ❑
                                                                       ❑ Yes
3.50 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $8,654.90
                                                                       Check all that apply.
         Arturo Benedicto Llano
                                                                       ❑ Contingent
         10 Juan Luna, UP Campus                                       ❑ Unliquidated
                                                                       ❑ Disputed
         Diliman, Quezon City, Philippines 1101-00,
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.51 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
         Arun Kotte
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         3905 Idlebrook Drive
                                                                       ✔ Disputed
                                                                       ❑
         Frisco, TX 75034
                                                                       Basis for the claim: Equity
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $4,253.96
3.52                                                                   Check all that apply.
         Astralabs Inc
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         979 Springdale Rd.
         Suite #123                                                    ✔ Disputed
                                                                       ❑
                                                                       Basis for the claim: Investor Note
         979 Springdale Rd. Suite #123
                                                                       Is the claim subject to offset?
         Austin, TX 78723                                              ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number




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3.53 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $20,000.00
                                                                       Check all that apply.
         Astralabs Inc
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         979 Springdale Rd.
         Suite #123                                                    ✔ Disputed
                                                                       ❑
                                                                       Basis for the claim: engagement fee
         979 Springdale Rd. Suite #123
                                                                       Is the claim subject to offset?
         Austin, TX 78723                                              ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.54 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $15,000.00
                                                                       Check all that apply.
         Astralabs Inc
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         979 Springdale Rd.
         Suite #123                                                    ✔ Disputed
                                                                       ❑
                                                                       Basis for the claim: Investor Note
         979 Springdale Rd. Suite #123
                                                                       Is the claim subject to offset?
         Austin, TX 78723                                              ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.55 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $6,000.00
                                                                       Check all that apply.
         Astralabs Inc
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         979 Springdale Rd.
         Suite #123                                                    ✔ Disputed
                                                                       ❑
                                                                       Basis for the claim: Investor Note
         979 Springdale Rd. Suite #123
                                                                       Is the claim subject to offset?
         Austin, TX 78723                                              ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $7,500.00
3.56                                                                   Check all that apply.
         Astralabs Inc
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         979 Springdale Rd.
         Suite #123                                                    ✔ Disputed
                                                                       ❑
                                                                       Basis for the claim: Investor Note
         979 Springdale Rd. Suite #123
                                                                       Is the claim subject to offset?
         Austin, TX 78723                                              ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number




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3.57 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $6,000.00
                                                                       Check all that apply.
         Astralabs Inc
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         979 Springdale Rd. Suite #123
                                                                       ✔ Disputed
                                                                       ❑
         Austin, TX 78723
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.58 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $4,000.00
                                                                       Check all that apply.
         Astralabs Inc
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         979 Springdale Rd. Suite #123
                                                                       ✔ Disputed
                                                                       ❑
         Austin, TX 78723
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.59 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $6,000.00
                                                                       Check all that apply.
         Astralabs Inc
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         979 Springdale Rd. Suite #123
                                                                       ✔ Disputed
                                                                       ❑
         Austin, TX 78723
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $5,000,000.00
3.60                                                                   Check all that apply.
         Astralabs Inc
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         979 Springdale Rd. Suite #123
                                                                       ✔ Disputed
                                                                       ❑
         Austin, TX 78723
                                                                       Basis for the claim: Investments
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.61 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $6,000.00
                                                                       Check all that apply.
         Astralabs Inc
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         979 Springdale Rd.
         Suite #123                                                    ✔ Disputed
                                                                       ❑
         979 Springdale Rd. Suite #123                                 Basis for the claim:
                                                                       Is the claim subject to offset?
         Austin, TX 78723                                              ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.62 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $522,150.00
                                                                       Check all that apply.
         Astralabs Inc
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         979 Springdale Rd.
         Suite #123                                                    ✔ Disputed
                                                                       ❑
                                                                       Basis for the claim: Money Loaned
         979 Springdale Rd. Suite #123
                                                                       Is the claim subject to offset?
         Austin, TX 78723                                              ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.63 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $5,000,000.00
                                                                       Check all that apply.
         Astralabs Inc
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         979 Springdale Rd.
         Suite #123                                                    ✔ Disputed
                                                                       ❑
         979 Springdale Rd. Suite #123                                 Basis for the claim:
                                                                       Is the claim subject to offset?
         Austin, TX 78723                                              ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $1,090.00
3.64                                                                   Check all that apply.
         Astralabs Inc
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         979 Springdale Rd.
         Suite #123                                                    ✔ Disputed
                                                                       ❑
         979 Springdale Rd. Suite #123                                 Basis for the claim:
                                                                       Is the claim subject to offset?
         Austin, TX 78723                                              ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

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3.65 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $110.00
                                                                       Check all that apply.
         Astralabs Inc
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         979 Springdale Rd. Suite #123
                                                                       ✔ Disputed
                                                                       ❑
         Austin, TX 78723
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.66 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $5,527.50
                                                                       Check all that apply.
         Astralabs Inc
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         979 Springdale Rd. Suite #123
                                                                       ✔ Disputed
                                                                       ❑
         Austin, TX 78723
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.67 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $7,000.00
                                                                       Check all that apply.
         Astralabs Inc
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         979 Springdale Rd.
         Suite #123                                                    ✔ Disputed
                                                                       ❑
         979 Springdale Rd. Suite #123                                 Basis for the claim:
                                                                       Is the claim subject to offset?
         Austin, TX 78723                                              ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $6,000.00
3.68                                                                   Check all that apply.
         Athletes to Athletes                                          ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         c/o The Lott Firm, PLLC
                                                                       ✔ Disputed
                                                                       ❑
         501 Congress Ave Suite 150                                    Basis for the claim: Refund
         Austin, TX 78701                                              Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number




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3.69 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $2,160.66
                                                                       Check all that apply.
         Austin Brown                                                  ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         2305 Idlewood Drive
                                                                       ✔ Disputed
                                                                       ❑
         Garland, TX 75040
                                                                                            Services performed
                                                                                            during my last weeks. I
         Date or dates debt was incurred                                                    did not get paid for spiffs
                                                                                            I had won, and I didnt
         Last 4 digits of account number                               Basis for the claim: receive commission
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
3.70 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $5,500.00
                                                                       Check all that apply.
         Austin Crowder
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         1200 Treadwell Street Apt 219
                                                                       ✔ Disputed
                                                                       ❑
         Austin, TX 78704
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.71 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $7,000.00
                                                                       Check all that apply.
         Austin Lortie
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         11978 Sunshine Park Drive N
                                                                       ✔ Disputed
                                                                       ❑
         Willis, TX 77318
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $9,000.00
3.72                                                                   Check all that apply.
         AutoBixLine Inc.                                              ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         11278 Carmel Creek Road
                                                                       ✔ Disputed
                                                                       ❑
         San Diego, CA 92130
                                                                                            The creditor was
                                                                                            promised certain services
         Date or dates debt was incurred                                                    by the debtor, for which
                                                                                            they paid $9000, which
         Last 4 digits of account number                               Basis for the claim: were never provided.
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes




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3.73 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $10,612.08
                                                                       Check all that apply.
         Avinash Reddy Desireddy
                                                                       ❑ Contingent
         16304 FM 1325 APT 7315                                        ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78728
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/25/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.74 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $2,337.50
                                                                       Check all that apply.
         Azaan Altemus
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         17900 Pfluger Farm Lane #412
                                                                       ✔ Disputed
                                                                       ❑
         Pflugerville, TX 78660
                                                                                            Amount owed for my
                                                                                            contracted time working
         Date or dates debt was incurred                                                    with Astralabs, from the
                                                                                            period of 4−1−23 to
         Last 4 digits of account number                               Basis for the claim: 4−25−23
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
3.75 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $2,500.00
                                                                       Check all that apply.
         Baiping Guo
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
                                                                       ❑ Disputed
         8 Mooney Street                                               Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
                                                                       ✔ No
         Lane Cove North NSW 2066 Australia,
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $2,500.00
3.76                                                                   Check all that apply.
         Baiping Guo
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
                                                                       ✔ Disputed
                                                                       ❑
         8 Mooney Street                                               Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
                                                                       ✔ No
         Lane Cove North NSW 2066 Australia,
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number




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3.77 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              unknown
                                                                       Check all that apply.
         Beau Horner                                                   ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         12604 Duckcreek Ct.
                                                                       ✔ Disputed
                                                                       ❑
         Austin, TX 78729
                                                                       Basis for the claim: Equity
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.78 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $11,500.00
                                                                       Check all that apply.
         Belofte International Inc                                     ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         27 Altamawr Avenue
                                                                       ✔ Disputed
                                                                       ❑
         Lawrence Township, NJ 08648
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.79 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $11,500.00
                                                                       Check all that apply.
         Belofte International Inc                                     ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         27 Altamawr Avenue
                                                                       ✔ Disputed
                                                                       ❑
         Lawrence Township, NJ 08648
                                                                       Basis for the claim: Services never delivered
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes
         Remarks: Duplicate Claim

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $11,500.00
3.80                                                                   Check all that apply.
         Belofte International Inc                                     ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         27 Altamawr Avenue
                                                                       ✔ Disputed
                                                                       ❑
         Lawrence Township, NJ 08648
                                                                       Basis for the claim: Services
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.81 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $497.75
                                                                       Check all that apply.
         Benjamin Slack                                                ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         6289 Riverstone Dr
                                                                       ✔ Disputed
                                                                       ❑
         Columbus, OH 43228
                                                                       Basis for the claim: Equity
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.82 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $0.00
                                                                       Check all that apply.
         Benjamin Slack                                                ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         6289 Riverstone Dr
                                                                       ✔ Disputed
                                                                       ❑
         Columbus, OH 43228
                                                                       Basis for the claim: Equity
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.83 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $5,000.00
                                                                       Check all that apply.
         Billy Jack Linsley                                            ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         16 Bodine Street
                                                                       ✔ Disputed
                                                                       ❑
         Wellsboro, PA 16901
                                                                       Basis for the claim: Equity
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/16/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $12,000.00
3.84                                                                   Check all that apply.
         Bonne et Filou Inc                                            ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         1178 Broadway 3rd Floor #1390
                                                                       ✔ Disputed
                                                                       ❑
         New York, NY 10001
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.85 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $2,101.68
                                                                       Check all that apply.
         Bradford Chan
                                                                       ❑ Contingent
         2540 Wexford Ave.                                             ❑ Unliquidated
                                                                       ❑ Disputed
         South San Francisco, CA 94080
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/18/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.86 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $31,602.72
                                                                       Check all that apply.
         Bradley G Kessler / Kessler Realty Holdings Inc.
                                                                       ❑ Contingent
         1621 Northland Ave                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Lakewood, OH 44107
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      09/05/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.87 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $3,970.50
                                                                       Check all that apply.
         Bradley Robertson
                                                                       ❑ Contingent
         550 Oak Grove Ave. Unit 122                                   ❑ Unliquidated
                                                                       ❑ Disputed
         Menlo Park, CA 94025
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/23/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $3,970.50
3.88                                                                   Check all that apply.
         Bradley Robertson
                                                                       ❑ Contingent
         550 Oak Grove Ave. Unit 122                                   ❑ Unliquidated
                                                                       ❑ Disputed
         Menlo Park, CA 94025
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      11/10/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.89 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              unknown
                                                                       Check all that apply.
         Brandon Greenburg                                             ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         865 West End Avenue 5E
                                                                       ✔ Disputed
                                                                       ❑
         New York, NY 10025
                                                                       Basis for the claim: Equity
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.90 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $2,999.00
                                                                       Check all that apply.
         Brian Klick                                                   ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         15010 Whitetail Way
                                                                       ✔ Disputed
                                                                       ❑
         Gaithersburg, MD 20878
                                                                       Basis for the claim: Equity
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.91 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $1,790.00
                                                                       Check all that apply.
         Brian Lee
                                                                       ❑ Contingent
         3760 N Fremont Unit 1                                         ❑ Unliquidated
                                                                       ❑ Disputed
         Chicago, IL 60613
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $323,416.00
3.92                                                                   Check all that apply.
         Brian Lee
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         3760 N Fremont Unit 1
                                                                       ✔ Disputed
                                                                       ❑
         Chicago, IL 60613
                                                                       Basis for the claim: Unknown
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.93 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $0.00
                                                                       Check all that apply.
         Bruce Masterson                                               ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         944 Enfield
                                                                       ✔ Disputed
                                                                       ❑
         Northbrook, IL 60062
                                                                       Basis for the claim: Equity
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.94 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $10,000.00
                                                                       Check all that apply.
         Bruce N Anderson                                              ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         436 Utterback Store Road
                                                                       ✔ Disputed
                                                                       ❑
         Great Falls, VA 22066
                                                                                            Payment for membership
                                                                                            in Newchip with a
         Date or dates debt was incurred                                                    contract that included
                                                                                            services that were not
         Last 4 digits of account number                               Basis for the claim: delivered to 247Solar Inc
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
3.95 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $8,098.29
                                                                       Check all that apply.
         Bryan Finks
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         4011 Briones Street
                                                                       ✔ Disputed
                                                                       ❑
         Austin, TX 78723
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $1,427,972.16
3.96                                                                   Check all that apply.
         Bryan Finks
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         4011 Briones Street
                                                                       ✔ Disputed
                                                                       ❑
         Austin, TX 78723
                                                                       Basis for the claim: Equity
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.97     Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $6,000.00
                                                                       Check all that apply.
         b-Science.net GmbH                                            ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         Traenkebachstrasse 38
                                                                       ✔ Disputed
                                                                       ❑
         8712 Staefa, Canton Zurich, Switzerland,
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.98     Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $20,000.00
                                                                       Check all that apply.
         BSDCD Limited                                                 ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         13/F Cheong Sun Tower
         118 Wing Lok St, Sheung Wan                                   ✔ Disputed
                                                                       ❑
         Hong Kong                                                     Basis for the claim: Customer
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred

         Last 4 digits of account number

3.99     Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $9,075.58
                                                                       Check all that apply.
         Calvin Green                                                  ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         108 S Mustang Avenue
                                                                       ✔ Disputed
                                                                       ❑
         Cedar Park, TX 78613
                                                                       Basis for the claim: Equity
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $5,000.00
3.100                                                                  Check all that apply.
         Cameron Almas                                                 ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         Neue Strasse 28b
                                                                       ✔ Disputed
                                                                       ❑
         31860 Emmerthal Germany,
                                                                                            services promised but
                                                                       Basis for the claim: not performed.
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.101 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $10,199.80
                                                                       Check all that apply.
         Cameron Resnick
                                                                       ❑ Contingent
         870 North 28th Street 101                                     ❑ Unliquidated
                                                                       ❑ Disputed
         Philadelphia, PA 19130
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/31/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.102 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $276,881.33
                                                                       Check all that apply.
         Camilo Andres Clavijo Vanegas                                 ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         17787 Adrift Road
                                                                       ✔ Disputed
                                                                       ❑
         Winter Garden, FL 34787
                                                                       Basis for the claim: Equity
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.103 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $6,375.00
                                                                       Check all that apply.
         Campy BV                                                      ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         238 Klokgebouw 5617AC Eindhoven
                                                                       ✔ Disputed
                                                                       ❑
         The Netherlands,
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $19,300.88
3.104                                                                  Check all that apply.
         Capitol Vending and Coffee Company
                                                                       ❑ Contingent
         c/o Cleveland R Burke                                         ❑ Unliquidated
         Holland & Knight LLP                                          ❑ Disputed
                                                                       Basis for the claim: Vendor
         100 Congress Ave Suite 1800
                                                                       Is the claim subject to offset?
         Austin, TX 78701                                              ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number




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3.105 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         Carey Walker                                                  ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         PO Box 54966
                                                                       ✔ Disputed
                                                                       ❑
         Tulsa, OK 74155-4966
                                                                       Basis for the claim: Equity
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.106 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $3,000.00
                                                                       Check all that apply.
         Caribou Inc.                                                  ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         172 Creek Path Ave
                                                                       ✔ Disputed
                                                                       ❑
         Oakville, Ontario, Canada, L6L 6T5,
                                                                       Basis for the claim: Unknown
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.107 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,000.00
                                                                       Check all that apply.
         Carl Lumma
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         367 Los Gatos Blvd
                                                                       ✔ Disputed
                                                                       ❑
         Los Gatos, CA 95032
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred       08/12/2022              ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $150,000.00
3.108                                                                  Check all that apply.
         Carl Russo
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         707 Willow Ave. Unit #2
                                                                       ✔ Disputed
                                                                       ❑
         Hoboken, NJ 07030
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred       08/18/2022              ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.109 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,612.00
                                                                       Check all that apply.
         Carmeanna Eberly                                              ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         828 E 47th Place
                                                                       ✔ Disputed
                                                                       ❑
         Chicago, IL 60615
                                                                       Basis for the claim: Equity
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.110 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $6,224.00
                                                                       Check all that apply.
         Carolyn DiFabio
                                                                       ❑ Contingent
         1000 San Marcos Street Apt 136                                ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78702
                                                                                            final wages and bonus
                                                                                            owed (approved in initial
         Date or dates debt was incurred                               Basis for the claim: March hearing)
                                                                       Is the claim subject to offset?
         Last 4 digits of account number                               ✔ No
                                                                       ❑
                                                                       ❑ Yes
3.111 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $21,037.56
                                                                       Check all that apply.
         Casey Melcher
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         1635 N Water St. Apt 602
                                                                       ✔ Disputed
                                                                       ❑
         Milwaukee, WI 53202
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/18/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $6,000.00
3.112                                                                  Check all that apply.
         Cassidee Collier                                              ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         3 Stuyvesant Oval Apt 10H
                                                                       ✔ Disputed
                                                                       ❑
         New York, NY 10009
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.113 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $20,000.00
                                                                       Check all that apply.
         Cenports Commerce Inc                                         ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         2530 Berryessa Rd #332
                                                                       ✔ Disputed
                                                                       ❑
         San Jose, CA 95132
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.114 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,750.00
                                                                       Check all that apply.
         Cesar Antonio Valencia                                        ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         14888 SW 104 Street Unit 17
                                                                       ✔ Disputed
                                                                       ❑
         Miami, FL 33196
                                                                       Basis for the claim: Equity
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.115 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,580,557.94
                                                                       Check all that apply.
         CFT Clear Finance Technology Corp.
                                                                       ❑ Contingent
         1200-33 Yonge Street,                                         ❑ Unliquidated
         Toronto, Ontario,                                             ❑ Disputed
         M5E 1G4, Canada                                               Basis for the claim: Merchant Cash Advance
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred      06/22/2022

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $10,370.03
3.116                                                                  Check all that apply.
         Chad Doyle
                                                                       ❑ Contingent
         3450 Crestmoor Dr.                                            ❑ Unliquidated
                                                                       ❑ Disputed
         San Bruno, CA 94066
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/31/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.117 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $9,000.00
                                                                       Check all that apply.
         Chagit Productions Inc                                        ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         591 Constitution Ave Suite B
                                                                       ✔ Disputed
                                                                       ❑
         Camarillo, CA 93012
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.118 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,549.95
                                                                       Check all that apply.
         Chaisson-Browne LLC
                                                                       ❑ Contingent
         35 Fiddlehead Rd                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Oxford, CT 06478
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.119 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         Chang Ting Zou
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         48 Woodview Dr.
                                                                       ✔ Disputed
                                                                       ❑
         Brewster, MA 02631
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $4,290.32
3.120                                                                  Check all that apply.
         ChekRite                                                      ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         6013/6 Parkland Blvd
                                                                       ✔ Disputed
                                                                       ❑
         Brisbane, Qld 4000, Australia,
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.121 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $8,733.34
                                                                       Check all that apply.
         Chris Jackson
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         610 Valley Trail Drive
                                                                       ✔ Disputed
                                                                       ❑
         Weatherford, TX 76087
                                                                                            Unpaid wages − gross
                                                                       Basis for the claim: pay and commission
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes
3.122 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            unknown
                                                                       Check all that apply.
         Christina Hong
                                                                       ❑ Contingent
                                                                       ✔ Unliquidated
                                                                       ❑
         12407 Bexley
                                                                       ✔ Disputed
                                                                       ❑
         Houston, TX 77099
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.123 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $32,585.60
                                                                       Check all that apply.
         Christopher Fast
                                                                       ❑ Contingent
         45 Meriam Street                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Wakefield, MA 01880
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/23/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $5,099.90
3.124                                                                  Check all that apply.
         Christopher Fontaine
                                                                       ❑ Contingent
         7814 Bradenton Drive                                          ❑ Unliquidated
                                                                       ❑ Disputed
         Charlotte, NC 28210
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/12/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.125 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,627.92
                                                                       Check all that apply.
         Christopher Seabolt
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         3404 Tree Summit Parkway
                                                                       ✔ Disputed
                                                                       ❑
         Duluth, GA 30096
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.126 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $18,600.00
                                                                       Check all that apply.
         Clac des Doigts                                               ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         128 Rue la Boetie,
         Paris, France                                                 ✔ Disputed
                                                                       ❑
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.127 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,250.00
                                                                       Check all that apply.
         Clifford Locks
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         33 Old Field Hill Road Unit # 12
                                                                       ✔ Disputed
                                                                       ❑
         Southbury, CT 06488
                                                                       Basis for the claim: Unknown
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $20,000.00
3.128                                                                  Check all that apply.
         Clinetic, Inc.                                                ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         630 Davis Drive
                                                                       ✔ Disputed
                                                                       ❑
         Morrisville, NC 27560
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.129 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $4,000.00
                                                                       Check all that apply.
         CMT Scanner                                                   ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         1/19 Virginia Street
                                                                       ✔ Disputed
                                                                       ❑
         Geebung, QLD 4034, Australia,
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.130 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $10,000.00
                                                                       Check all that apply.
         Cody Pahalad
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         352 Brighton Ave Apt 203
                                                                       ✔ Disputed
                                                                       ❑
         San Francisco, CA 94112
                                                                       Basis for the claim: Equity
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.131 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,750.01
                                                                       Check all that apply.
         Constantine Trikas
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         840 Fulton Street Apt. 704
                                                                       ✔ Disputed
                                                                       ❑
         Brooklyn, NY 11238
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/23/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $3,183.62
3.132                                                                  Check all that apply.
         Cordtz Tuatoo
                                                                       ❑ Contingent
         417 Swift Fox Run                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Crestview, FL 32536
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/12/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
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3.133 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,500.00
                                                                       Check all that apply.
         Coventry Capital Partners, LLC
                                                                       ❑ Contingent
         306 Landing Lane                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Chestertown, MD 21620
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/17/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.134 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $18,432.18
                                                                       Check all that apply.
         CRC Insurance Services
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         1 Metroplex Drive Suite 400
                                                                       ✔ Disputed
                                                                       ❑
         Birmingham, AL 35209
                                                                       Basis for the claim: Unpaid Insurance Policy
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.135 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $4,000.00
                                                                       Check all that apply.
         Cristian I Crisan
                                                                       ❑ Contingent
         15408 Fisher Island Dr.                                       ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78717
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/17/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $3,564.31
3.136                                                                  Check all that apply.
         Crystle Rauch
                                                                       ❑ Contingent
         6701 Lakewood Rd                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Stanwood, WA 98292
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
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                                                                       ❑ Yes




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3.137 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $4,449.24
                                                                       Check all that apply.
         Curt Bromm
                                                                       ❑ Contingent
         5785 Open Fields Drive                                        ❑ Unliquidated
                                                                       ❑ Disputed
         Whitestown, IN 46075
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/18/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.138 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,615.47
                                                                       Check all that apply.
         Cynthia Ochoa
                                                                       ❑ Contingent
                                                                       ✔ Unliquidated
                                                                       ❑
         600 E FM 1626 #9208
                                                                       ✔ Disputed
                                                                       ❑
         Austin, TX 78748
                                                                       Basis for the claim: Equity
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.139 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $4,631.70
                                                                       Check all that apply.
         Dan Smith
                                                                       ❑ Contingent
                                                                       ✔ Unliquidated
                                                                       ❑
         8021 N Padova Pl.
                                                                       ✔ Disputed
                                                                       ❑
         Tucson, AZ 85741
                                                                       Basis for the claim: Equity
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/15/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            unknown
3.140                                                                  Check all that apply.
         Daniel Anguiano
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         252 Mulberry Lane
                                                                       ✔ Disputed
                                                                       ❑
         Rockwall, TX 75032
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.141 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $41,666.56
                                                                       Check all that apply.
         Daryl W Campbell
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         3353 River Valley Dr.
                                                                       ✔ Disputed
                                                                       ❑
         Richland, WA 99354
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/23/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
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3.142 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $12,000.00
                                                                       Check all that apply.
         David Clark                                                   ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         13022 Reata Ridge Dr
                                                                       ✔ Disputed
                                                                       ❑
         Parker, CO 80134
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.143 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,482.16
                                                                       Check all that apply.
         David Fisher
                                                                       ❑ Contingent
         832 Kristin Ln                                                ❑ Unliquidated
                                                                       ❑ Disputed
         Williamstown, NJ 08094
                                                                       Basis for the claim: Money Loaned
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $41,666.56
3.144                                                                  Check all that apply.
         David Huie
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         842 Harbor Island Dr.
                                                                       ✔ Disputed
                                                                       ❑
         Newport Beach, CA 92660
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/28/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
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3.145 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $6,000.00
                                                                       Check all that apply.
         Dawn Audio LLC                                                ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         3035 St Ann Street Apt A
                                                                       ✔ Disputed
                                                                       ❑
         New Orleans, LA 70119
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.146 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,008.96
                                                                       Check all that apply.
         DeAnna Unger
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         12204 FM 1826
                                                                       ✔ Disputed
                                                                       ❑
         78737
                                                                                            AstraLabs Inc.
                                                                                            investment and exercise
         Date or dates debt was incurred                               Basis for the claim: of warrant
                                                                       Is the claim subject to offset?
         Last 4 digits of account number                               ✔ No
                                                                       ❑
                                                                       ❑ Yes
3.147 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,716.00
                                                                       Check all that apply.
         Dhruv Patel
                                                                       ❑ Contingent
         1401 Art Dilly Drive Apt #355                                 ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78702
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $8,000.00
3.148                                                                  Check all that apply.
         Dhruv Sampat                                                  ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         301 Gough Street Apt #1
                                                                       ✔ Disputed
                                                                       ❑
         San Francisco, CA 94102
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.149 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $10,018.80
                                                                       Check all that apply.
         Dickinson Wright PLLC
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         500 Woodward Avenue Suite 4000
                                                                       ✔ Disputed
                                                                       ❑
         Detroit, MI 48226
                                                                       Basis for the claim: Legal services rendered
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.150 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $39,974.16
                                                                       Check all that apply.
         Diego Mauro Cogno
                                                                       ❑ Contingent
         65b Cromford Road                                             ❑ Unliquidated
         SW18 1PA,                                                     ❑ Disputed
         London, UK                                                    Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred      08/12/2022

         Last 4 digits of account number

3.151 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $20,000.00
                                                                       Check all that apply.
         DKMC, Inc.
                                                                       ❑ Contingent
                                                                       ✔ Unliquidated
                                                                       ❑
         1435 Yellowheart Way
                                                                       ✔ Disputed
                                                                       ❑
         Hollywood, FL 33019
                                                                       Basis for the claim: Equity
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $4,339.83
3.152                                                                  Check all that apply.
         Dmitry Gozman
                                                                       ❑ Contingent
                                                                       ✔ Unliquidated
                                                                       ❑
         228 Park Avenue S. Ste 25520
                                                                       ✔ Disputed
                                                                       ❑
         New York, NY 10003
                                                                       Basis for the claim: Equity
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.153 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         Domunus                                                       ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         655 East 14th Street Apt. 9A
                                                                       ✔ Disputed
                                                                       ❑
         New York, NY 10009
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.154 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $6,000.00
                                                                       Check all that apply.
         Dropshop Technologies Inc                                     ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         320 E 57 St Apt 4E
                                                                       ✔ Disputed
                                                                       ❑
         New York, NY 10022
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.155 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $4,000.00
                                                                       Check all that apply.
         Dylan Mulrooney
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         1217 Tudor House Rd
                                                                       ✔ Disputed
                                                                       ❑
         Pflugerville, TX 78660
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $1,090.00
3.156                                                                  Check all that apply.
         Dysleximedia Llc
                                                                       ❑ Contingent
                                                                       ✔ Unliquidated
                                                                       ❑
         414 Nassau Parkway
                                                                       ✔ Disputed
                                                                       ❑
         Oceanside, NY 11572
                                                                       Basis for the claim: Equity
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.157 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,333.00
                                                                       Check all that apply.
         Ebonee Miller
                                                                       ❑ Contingent
         7176 W Oromia Way                                             ❑ Unliquidated
                                                                       ❑ Disputed
         West Valley City, UT 84128
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.158 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $3,111.93
                                                                       Check all that apply.
         Edward Wei
                                                                       ❑ Contingent
         3318 Cloverdale Street                                        ❑ Unliquidated
                                                                       ❑ Disputed
         Houston, TX 77025
                                                                       Basis for the claim: Unpaid Wages
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.159 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $720.00
                                                                       Check all that apply.
         Eli M Blatt
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         PO Box 61473
                                                                       ✔ Disputed
                                                                       ❑
         North Miami Beach, FL 33160
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $6,250.00
3.160                                                                  Check all that apply.
         Emilija Dimitrovski
                                                                       ❑ Contingent
         Lange Zeile 12,                                               ❑ Unliquidated
         90419 Nuremberg                                               ❑ Disputed
         Germany                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred

         Last 4 digits of account number




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3.161 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,500.00
                                                                       Check all that apply.
         Endavu Group ApS                                              ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         Sturlasgade 12B
         2300 Copenhagen                                               ✔ Disputed
                                                                       ❑
         Denmark                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred

         Last 4 digits of account number

3.162 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $12,000.00
                                                                       Check all that apply.
         Equivesto Inc                                                 ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         7945 Oldfield Road Unit 19
                                                                       ✔ Disputed
                                                                       ❑
         Niagra Falls, Ontario, Canada L2G0Z4,
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.163 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $18,400.00
                                                                       Check all that apply.
         Eric Lee
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         6620 Wickliff Trail
                                                                       ✔ Disputed
                                                                       ❑
         Plano, TX 75023
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/26/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $1,001.00
3.164                                                                  Check all that apply.
         Eric Steinlicht
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         736 West Bel Esprit Circle
                                                                       ✔ Disputed
                                                                       ❑
         San Marcos, CA 92069
                                                                       Basis for the claim: Unknown
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.165 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $3,600.00
                                                                       Check all that apply.
         Erin Groves
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         300 E Riverside Drive Apt 529
                                                                       ✔ Disputed
                                                                       ❑
         Austin, TX 78704
                                                                                            Salary wages and
                                                                       Basis for the claim: commission owed.
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes
3.166 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $20,166.56
                                                                       Check all that apply.
         Erin Groves
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         300 E Riverside Drive Apt 529
                                                                       ✔ Disputed
                                                                       ❑
         Austin, TX 78704
                                                                       Basis for the claim: Stock Options
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.167 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $10,134.00
                                                                       Check all that apply.
         ErleaDx Pte Ltd                                               ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         BLK #856 Tampines St 82 #09-269
                                                                       ✔ Disputed
                                                                       ❑
         Singapore 520856,
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $30,000.00
3.168                                                                  Check all that apply.
         Erwin M Arnold                                                ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         155 Schiesshausstrasse
                                                                       ✔ Disputed
                                                                       ❑
         Neuberg, Germany 86633,
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.169 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $35,541.74
                                                                       Check all that apply.
         Ethan Brandt
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         301 E 4th St
                                                                       ✔ Disputed
                                                                       ❑
         Huxley, IA 50124
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/12/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.170 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $8,000.00
                                                                       Check all that apply.
         Eugene Ngontang                                               ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         3 Bis Avenue Sadi Carnot
                                                                       ✔ Disputed
                                                                       ❑
         91160 Saulx Les Chartreaux France,
                                                                       Basis for the claim: Credit Card
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.171 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $6,119.88
                                                                       Check all that apply.
         Evan Johnson and Ejohnson RD LLC
                                                                       ❑ Contingent
         3 Revere Drive                                                ❑ Unliquidated
                                                                       ❑ Disputed
         Ridgefield, CT 06877
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/20/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $12,000.00
3.172                                                                  Check all that apply.
         Eventuall, Inc.                                               ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         6515 W Sunset Blvd Suite 430
                                                                       ✔ Disputed
                                                                       ❑
         Los Angeles, CA 90028
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.173 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $6,000.00
                                                                       Check all that apply.
         Exceptional Heroes, LLC                                       ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         560 N Bullard Ave Suite 49
                                                                       ✔ Disputed
                                                                       ❑
         Goodyear, AZ 85338
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.174 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         Fan Fair INC                                                  ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         4316 NE 119th Street
                                                                       ✔ Disputed
                                                                       ❑
         Oklahoma City, OK 73131
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.175 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,500.00
                                                                       Check all that apply.
         Fashion Constellate                                           ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         P.O. Box 6
                                                                       ✔ Disputed
                                                                       ❑
         Lake Junaluska, NC 28745
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $10,000.00
3.176                                                                  Check all that apply.
         Favored Live                                                  ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         8950 Ellis Ave Unit B
                                                                       ✔ Disputed
                                                                       ❑
         Los Angeles, CA 90034
                                                                       Basis for the claim: Services never delivered
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.177 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $8,000.00
                                                                       Check all that apply.
         Febo Health Inc                                               ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         300 S A Street Suite 201
                                                                       ✔ Disputed
                                                                       ❑
         Oxnard, CA 93030
                                                                                            services that were
                                                                                            promised were not met,
         Date or dates debt was incurred                                                    we were promised at least
                                                                                            9 intro to potential
         Last 4 digits of account number                               Basis for the claim: investors
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
3.178 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $9,692.29
                                                                       Check all that apply.
         Fernando Moreno Cortina
                                                                       ❑ Contingent
                                                                       ✔ Unliquidated
                                                                       ❑
         2401 Aldrich St Apt 367
                                                                       ✔ Disputed
                                                                       ❑
         Austin, TX 78723
                                                                       Basis for the claim: Unpaid Wages
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.179 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $35,000.00
                                                                       Check all that apply.
         Fernando Moreno Cortina
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         2401 Aldrich St Apt 367
                                                                       ✔ Disputed
                                                                       ❑
         Austin, TX 78723
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $1,391,098.50
3.180                                                                  Check all that apply.
         Fernando Moreno Cortina
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         2401 Aldrich St Apt 367
                                                                       ✔ Disputed
                                                                       ❑
         Austin, TX 78723
                                                                                            Limit disclosing
                                                                                            information that is
         Date or dates debt was incurred                                                    entitled to privacy, such
                                                                                            as healthcare
         Last 4 digits of account number                                                    information. Vested ISO
                                                                                            compensation
                                                                                            (supposedly it was
                                                                       Basis for the claim: changed to RSUs)
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes




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3.181 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $131,472.34
                                                                       Check all that apply.
         Fernando Moreno Cortina
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         2401 Aldrich St Apt 367
                                                                       ✔ Disputed
                                                                       ❑
         Austin, TX 78723
                                                                                            Limit disclosing
                                                                                            information that is
         Date or dates debt was incurred                                                    entitled to privacy, such
                                                                                            as healthcare
         Last 4 digits of account number                                                    information. Assigned
                                                                                            shares (not stock
                                                                                            options) to Fernando
                                                                                            Moreno Cortina during
                                                                       Basis for the claim: his time at Astralabs
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
3.182 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         Filipe Peerally
                                                                       ❑ Contingent
         8820 Theriot Rd                                               ❑ Unliquidated
                                                                       ❑ Disputed
         Peyton, CO 80831
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/19/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.183 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         Filipe Peerally
                                                                       ❑ Contingent
         8820 Theriot Rd                                               ❑ Unliquidated
                                                                       ❑ Disputed
         Peyton, CO 80831
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      11/15/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $2,500.00
3.184                                                                  Check all that apply.
         Filipe Peerally
                                                                       ❑ Contingent
         8820 Theriot Rd                                               ❑ Unliquidated
                                                                       ❑ Disputed
         Peyton, CO 80831
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      11/14/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.185 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $12,000.00
                                                                       Check all that apply.
         Flower Turbines                                               ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         PO Box 647
                                                                       ✔ Disputed
                                                                       ❑
         Lawrence, NY 11559
                                                                                            Money paid to Newchip
                                                                                            for the
         Date or dates debt was incurred                                                    investmentaccelerator
                                                                                            but Newchip dissolved
         Last 4 digits of account number                                                    before the investment
                                                                       Basis for the claim: process occurred
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
3.186 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         Franshesca Castoria
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         2 Hearthwood Court
                                                                       ✔ Disputed
                                                                       ❑
         Manahawkin, NJ 08050
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/13/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.187 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $8,425.00
                                                                       Check all that apply.
         Frederic W. Corwin III
                                                                       ❑ Contingent
         26 Boswell Rd.                                                ❑ Unliquidated
                                                                       ❑ Disputed
         Reading, MA 01867
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $200.00
3.188                                                                  Check all that apply.
         Frida Elizabeth Ramos Martinez
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         Rinconada del Acueducto 265
                                                                       ✔ Disputed
                                                                       ❑
         El Palomar, Tlajomulco de Zuiga, Jalisco, Mexico,
                                                                       Basis for the claim: Unknown
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.189 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,100.00
                                                                       Check all that apply.
         FS Ventures LLC
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         680 Honey Suckle Lane
                                                                       ✔ Disputed
                                                                       ❑
         North Wales, PA 19454
                                                                                            Crowdfunding
                                                                       Basis for the claim: shareholder
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes
3.190 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         Fundream SRL                                                  ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         Viale Francia N.30 -
                                                                       ✔ Disputed
                                                                       ❑
         71122 Foggia Italy,
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.191 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,500.00
                                                                       Check all that apply.
         Fyrefish Technologies Ltd                                     ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         13 Grenfell Cres
         Markham, ON, CANADA                                           ✔ Disputed
                                                                       ❑
         L3P1S6                                                        Basis for the claim: Customer
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $2,500.00
3.192                                                                  Check all that apply.
         Gaby Fraifer
                                                                       ❑ Contingent
                                                                       ✔ Unliquidated
                                                                       ❑
         720 Airport Blvd #1359
                                                                       ✔ Disputed
                                                                       ❑
         Austin, TX 78702
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.193 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $44,166.65
                                                                       Check all that apply.
         Gary L DeVries
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         2204 Ashwood Drive
                                                                       ✔ Disputed
                                                                       ❑
         Aberdeen, SD 57401
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/18/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.194 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $20,000.00
                                                                       Check all that apply.
         GDS Group LLC                                                 ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         50 Merrick Road Suite 203
                                                                       ✔ Disputed
                                                                       ❑
         Rockville Centre, NY 11570
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.195 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $6,000.00
                                                                       Check all that apply.
         GeoNaidr Pty Ltd                                              ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         70 Moresby Street,
                                                                       ✔ Disputed
                                                                       ❑
         Trinity Beach, Cairns, 4879, Queensland, Australia,
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $4,200.00
3.196                                                                  Check all that apply.
         George Andrew Simons CDP
                                                                       ❑ Contingent
                                                                       ✔ Unliquidated
                                                                       ❑
         15b Acacia Lane,
         Cambridge Road,                                               ✔ Disputed
                                                                       ❑
         Sandys MA 02 Bermuda                                          Basis for the claim: Equity
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred

         Last 4 digits of account number




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3.197 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,000.00
                                                                       Check all that apply.
         George Mower
                                                                       ❑ Contingent
                                                                       ✔ Unliquidated
                                                                       ❑
         14009 E Sage Hills Drive
                                                                       ✔ Disputed
                                                                       ❑
         Vail, AZ 85641
                                                                       Basis for the claim: Equity
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.198 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $6,000.00
                                                                       Check all that apply.
         Get-Tech Innovative Solutions Inc                             ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         2792 Teak Crescent
                                                                       ✔ Disputed
                                                                       ❑
         Oakville, ON L6J 7M4 Canada,
                                                                                            Services paid for were
                                                                       Basis for the claim: not delivered
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes
3.199 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $986.00
                                                                       Check all that apply.
         Gic-Owens Fiestan
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         3153 Asher Rd
                                                                       ✔ Disputed
                                                                       ❑
         Ann Arbor, MI 48104
                                                                       Basis for the claim: 1099 Service Provider
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $42,708.22
3.200                                                                  Check all that apply.
         Girish Amin
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         1419 Sierra Glen Circle
                                                                       ✔ Disputed
                                                                       ❑
         Apex, NC 27502
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/23/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.201 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $169,333.00
                                                                       Check all that apply.
         Glenn Hunter
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         80 Forest Drive
                                                                       ✔ Disputed
                                                                       ❑
         East Northport, NY 11731
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      10/28/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.202 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $169,333.00
                                                                       Check all that apply.
         Glenn Hunter
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         80 Forest Drive
                                                                       ✔ Disputed
                                                                       ❑
         East Northport, NY 11731
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.203 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $169,333.00
                                                                       Check all that apply.
         Glenn Hunter
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         80 Forest Drive
                                                                       ✔ Disputed
                                                                       ❑
         East Northport, NY 11731
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $12,000.00
3.204                                                                  Check all that apply.
         Gm Services LLC                                               ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         2 Shelton road
                                                                       ✔ Disputed
                                                                       ❑
         Swampscott, MA 01907
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.205 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $32,000.00
                                                                       Check all that apply.
         Graham Brown
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         1113 N Oaks Lane North
                                                                       ✔ Disputed
                                                                       ❑
         North Little Rock, AR 72118
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.206 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,300.00
                                                                       Check all that apply.
         Grayson Pichon
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         615 Clifford Drive
                                                                       ✔ Disputed
                                                                       ❑
         Austin, TX 78745
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.207 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $45,007.92
                                                                       Check all that apply.
         Green Future Investments LLC
                                                                       ❑ Contingent
         333 Turn Pike Dr.                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Folsom, CA 95630
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      11/10/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $2,500.00
3.208                                                                  Check all that apply.
         Gregory Baker
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         224 Furman Farm Pl.
                                                                       ✔ Disputed
                                                                       ❑
         Charleston, SC 29492
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.209 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $8,333.33
                                                                       Check all that apply.
         Gregory Michael Bomberg
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         619 Walnut Hill Street
                                                                       ✔ Disputed
                                                                       ❑
         San Antonio, TX 78232
                                                                                            Partial Backpay
                                                                                            (8/26/19−6/30/20). 10k
         Date or dates debt was incurred                                                    salary bump after first 10
                                                                                            months was supposed to
         Last 4 digits of account number                               Basis for the claim: be applied retroactively.
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
3.210 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,408.34
                                                                       Check all that apply.
         Gregory Wilson
                                                                       ❑ Contingent
         15 W 110th St. Apt. 22                                        ❑ Unliquidated
                                                                       ❑ Disputed
         New York, NY 10026
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/15/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.211 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $8,960.00
                                                                       Check all that apply.
         Griffin Hermes
                                                                       ❑ Contingent
         2450 4th Street Apt B                                         ❑ Unliquidated
                                                                       ❑ Disputed
         Santa Monica, CA 90405
                                                                       Basis for the claim: Employee
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $8,960.00
3.212                                                                  Check all that apply.
         Griffin Hermes
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         2450 4th Street Apt B
                                                                       ✔ Disputed
                                                                       ❑
         Santa Monica, CA 90405
                                                                       Basis for the claim: Wages
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.213 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $6,000.00
                                                                       Check all that apply.
         GV Correct, LLC                                               ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         Kalama tee 4, Suurupi kla,
         Harjumaa, Estonia                                             ✔ Disputed
                                                                       ❑
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.214 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $26,000.00
                                                                       Check all that apply.
         Harold Bishop
                                                                       ❑ Contingent
         3009 S John Redditt Ste E #398                                ❑ Unliquidated
                                                                       ❑ Disputed
         Lufkin, TX 75904
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/23/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.215 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $6,000.00
                                                                       Check all that apply.
         Harper Miller
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         2355 Westwood Blvd #650
                                                                       ✔ Disputed
                                                                       ❑
         Los Angeles, CA 90064
                                                                       Basis for the claim: Unknown
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $7,000.00
3.216                                                                  Check all that apply.
         Harrison Lee
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         1090 Lambton Drive
                                                                       ✔ Disputed
                                                                       ❑
         Oakville, Ontario L6J 7P3,
                                                                       Basis for the claim: Uknown
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.217 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $200,000.00
                                                                       Check all that apply.
         Hasan Ugur Koyluoglu
                                                                       ❑ Contingent
         1064 Great Road                                               ❑ Unliquidated
                                                                       ❑ Disputed
         Princeton, NJ 08540
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/31/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.218 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $10,000.00
                                                                       Check all that apply.
         Henry Shao
                                                                       ❑ Contingent
         1955 Junewood Ave.                                            ❑ Unliquidated
                                                                       ❑ Disputed
         San Jose, CA 95132
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/22/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.219 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,527.50
                                                                       Check all that apply.
         Hi There Solutions
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         13780 Del Corso Way Unit 1211
                                                                       ✔ Disputed
                                                                       ❑
         Broomfield, CO 80020
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $9,000.00
3.220                                                                  Check all that apply.
         Hokan Digital Services Limited                                ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         7/10 Chandos Street Cavendish Square
                                                                       ✔ Disputed
                                                                       ❑
         London W1G 9DQ UK,
                                                                                            Fraudulent and dishonest
                                                                                            act by Debtor for
         Date or dates debt was incurred                                                    onboarding Creditor
                                                                                            while already in financial
         Last 4 digits of account number                               Basis for the claim: trouble.
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes




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3.221 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $6,000.00
                                                                       Check all that apply.
         Holistic Health COllaborative                                 ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         128 Pleasant Street
                                                                       ✔ Disputed
                                                                       ❑
         Marblehead, MA 01945
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.222 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         Horacio Rodriguez Rilo
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         1414 S Lamar Blvd
                                                                       ✔ Disputed
                                                                       ❑
         Austin, TX 78704
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.223 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $299.75
                                                                       Check all that apply.
         Hudson Horn
                                                                       ❑ Contingent
                                                                       ✔ Unliquidated
                                                                       ❑
         2275 Sharon Rd Apt 311
                                                                       ✔ Disputed
                                                                       ❑
         Menlo Park, CA 94025
                                                                       Basis for the claim: Equity
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $10,000.00
3.224                                                                  Check all that apply.
         Hypha Knowledge Intergration Limited                          ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         1st Floor, The Brew, Eagle House
                                                                       ✔ Disputed
                                                                       ❑
         London, EC1V 1NR, UK,
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.225 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $12,000.00
                                                                       Check all that apply.
         IENAI Space SL                                                ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         Ave. Gregorio Peces-Barba 1
                                                                       ✔ Disputed
                                                                       ❑
         28919 Legans, Spain,
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.226 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,500.00
                                                                       Check all that apply.
         illumnifyDx, Inc                                              ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         13825 Vispo Way
                                                                       ✔ Disputed
                                                                       ❑
         Broomfield, CO 80020
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.227 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         Inbal Tubi
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         Calle 74C #7-52 Apt #305
                                                                       ✔ Disputed
                                                                       ❑
         Bogata, Colombia 00000,
                                                                       Basis for the claim: Uknown
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $11,400.00
3.228                                                                  Check all that apply.
         InJoy Global                                                  ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         5348 Vegas Drive Suite 74
                                                                       ✔ Disputed
                                                                       ❑
         Las Vegas, NV 89108
                                                                                            Agreement was not
                                                                                            fulfilled. Contractual
         Date or dates debt was incurred                               Basis for the claim: obligation not met.
                                                                       Is the claim subject to offset?
         Last 4 digits of account number                               ✔ No
                                                                       ❑
                                                                       ❑ Yes




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3.229 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,500.00
                                                                       Check all that apply.
         Innovative Wellness Systems Inc                               ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         10 Beldon Rd.
                                                                       ✔ Disputed
                                                                       ❑
         Dover, MA 02030
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.230 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $9,900.00
                                                                       Check all that apply.
         Into the Multiverse Inc                                       ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         816 California Ave
                                                                       ✔ Disputed
                                                                       ❑
         Venice, CA 90291
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.231 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $6,000.00
                                                                       Check all that apply.
         Iocure                                                        ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         PO Box 647
                                                                       ✔ Disputed
                                                                       ❑
         Lawrence, NY 11559
                                                                                            Money paid to Newchip
                                                                                            for the
         Date or dates debt was incurred                                                    investmentaccelerator
                                                                                            but Newchip dissolved
         Last 4 digits of account number                                                    before the investment
                                                                       Basis for the claim: process occurred
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $5,000.00
3.232                                                                  Check all that apply.
         Iryna Zhuravel
                                                                       ❑ Contingent
         8929 Lombard Place                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Apt. 123                                                      Basis for the claim: Investor Note
         San Diego, CA 92122                                           Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred      08/18/2022

         Last 4 digits of account number




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3.233 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $920.00
                                                                       Check all that apply.
         Ivanna Mariel Guerrero Ulloa
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         8010 Little Deer Xing
                                                                       ✔ Disputed
                                                                       ❑
         Austin, TX 78736
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.234 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $124,000.00
                                                                       Check all that apply.
         J333 Ventures LLC
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         1706 Elliot Ranch Rd
                                                                       ✔ Disputed
                                                                       ❑
         Buda, TX 78610
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      09/15/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.235 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $60,000.00
                                                                       Check all that apply.
         Jack Atkin
                                                                       ❑ Contingent
         16 Hamlin Road                                                ❑ Unliquidated
                                                                       ❑ Disputed
         Edison, NJ 08817
                                                                       Basis for the claim: Lender
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/30/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $30,000.00
3.236                                                                  Check all that apply.
         Jack Atkin
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         16 Hamlin Road
                                                                       ✔ Disputed
                                                                       ❑
         Edison, NJ 08817
                                                                       Basis for the claim: Lender
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      10/31/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.237 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,953.00
                                                                       Check all that apply.
         Jack Colletti
                                                                       ❑ Contingent
         2630 Quail Hill Drive                                         ❑ Unliquidated
                                                                       ❑ Disputed
         Pittsburgh, PA 15241
                                                                       Basis for the claim: 1099 Service Provider
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.238 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $18,669.28
                                                                       Check all that apply.
         Jack P. Hopper
                                                                       ❑ Contingent
         2116 Fordham Ln.                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78723
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      09/06/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.239 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $0.00
                                                                       Check all that apply.
         James Askew
                                                                       ❑ Contingent
         720 Airport Blvd Apt 1143
                                                                       ✔ Unliquidated
                                                                       ❑
                                                                       ❑ Disputed
         Austin, TX 78702
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $5,629.00
3.240                                                                  Check all that apply.
         James Peery & Mammen & Peery                                  ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         5610 Conica Court
                                                                       ✔ Disputed
                                                                       ❑
         Spring, TX 77379
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.241 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,500.00
                                                                       Check all that apply.
         James Steele
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         510 Coffin Alley, PO Box 382
                                                                       ✔ Disputed
                                                                       ❑
         Portland, PA 18351
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/18/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.242 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,100.00
                                                                       Check all that apply.
         Jan Kvita
                                                                       ❑ Contingent
         Ke Krci 1002/24                                               ❑ Unliquidated
         Prague                                                        ❑ Disputed
         Czech Republic                                                Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred      08/19/2022

         Last 4 digits of account number

3.243 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,807.69
                                                                       Check all that apply.
         Jared Alvarado
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         7502 Vaquer Drive
                                                                       ✔ Disputed
                                                                       ❑
         Corpus Christi, TX 78414
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $2,000.00
3.244                                                                  Check all that apply.
         Jared Lucas
                                                                       ❑ Contingent
                                                                       ✔ Unliquidated
                                                                       ❑
         6 Pickernell Lane
                                                                       ✔ Disputed
                                                                       ❑
         Kittery, ME 03904
                                                                       Basis for the claim: Equity
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.245 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,000.00
                                                                       Check all that apply.
         Jaron ("Robert") Glasgow
                                                                       ❑ Contingent
         6960 10th St N Apt. 207                                       ❑ Unliquidated
                                                                       ❑ Disputed
         Oakdale, MN 55128
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/18/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.246 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,000.00
                                                                       Check all that apply.
         Jason Croft
                                                                       ❑ Contingent
         28A Parkway Village                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Cranford, NJ 07016
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/16/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.247 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $15,220.00
                                                                       Check all that apply.
         Jason D Arnold
                                                                       ❑ Contingent
         1140 Bonanza Drive                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Okemos, MI 48864
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/19/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $1,000.00
3.248                                                                  Check all that apply.
         Jason Glasgow
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         7550 80th Street Unit 415
                                                                       ✔ Disputed
                                                                       ❑
         Cottage Grove, MN 55016
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.249 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $3,450.00
                                                                       Check all that apply.
         Jason Jacobsohn
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         285 Danbury Drive
                                                                       ✔ Disputed
                                                                       ❑
         Vernon Hills, IL 60061
                                                                       Basis for the claim: 1099 Vendor
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.250 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $12,660.00
                                                                       Check all that apply.
         Jason Kahle
                                                                       ❑ Contingent
         347 White Fox Run                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Fallbrook, CA 92028
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/12/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.251 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $10,000.00
                                                                       Check all that apply.
         Jeff Meyer
                                                                       ❑ Contingent
         33970 Rebecca Rd                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Kingston, IL 60145
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $5,306.04
3.252                                                                  Check all that apply.
         Jeffrey Wells
                                                                       ❑ Contingent
         18550 Hatteras St. #2                                         ❑ Unliquidated
                                                                       ❑ Disputed
         Tarzana, CA 91356
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/16/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
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3.253 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,500.00
                                                                       Check all that apply.
         Jennilee Bennett, Mastero Athletics                           ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         10217 8th Ave SW
                                                                       ✔ Disputed
                                                                       ❑
         Seattle, WA 98146
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.254 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $9,800.00
                                                                       Check all that apply.
         Jeremy Greiner
                                                                       ❑ Contingent
         1709 Crestwood Drive                                          ❑ Unliquidated
                                                                       ❑ Disputed
         Alexandria, VA 22302
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred       08/18/2022              ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.255 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $12,500.00
                                                                       Check all that apply.
         Jeremy Phillips
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         211 W Verdugo Ave. #201
                                                                       ✔ Disputed
                                                                       ❑
         Burbank, CA 91502
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred       08/11/2022              ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $33,600.00
3.256                                                                  Check all that apply.
         Joao Carlos Dos Santos Branquinho,
                                                                       ❑ Contingent
         3300 NE 191st Street Apt 1207                                 ❑ Unliquidated
                                                                       ❑ Disputed
         Miami, FL 33180
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.257 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $25,000.00
                                                                       Check all that apply.
         Joao Carlos Dos Santos Branquinho,
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         3300 NE 191st Street Apt 1207
                                                                       ✔ Disputed
                                                                       ❑
         Miami, FL 33180
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.258 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,500.00
                                                                       Check all that apply.
         Joao Carlos Dos Santos Branquinho,
                                                                       ❑ Contingent
         3300 NE 191st Street Apt 1207                                 ❑ Unliquidated
                                                                       ❑ Disputed
         Miami, FL 33180
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.259 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $9,200.00
                                                                       Check all that apply.
         John Goldman
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         80 W Sierra Madre Blvd #120
                                                                       ✔ Disputed
                                                                       ❑
         Sierra Madre, CA 91024
                                                                       Basis for the claim: Services Performed
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $5,000.00
3.260                                                                  Check all that apply.
         John Salinas                                                  ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         14429 Ventura Blvd Ste 109
                                                                       ✔ Disputed
                                                                       ❑
         Sherman Oaks, CA 91423
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.261 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $8,898.48
                                                                       Check all that apply.
         John W Polomny
                                                                       ❑ Contingent
         1116 Palm Valley Drive E                                      ❑ Unliquidated
                                                                       ❑ Disputed
         Harlingen, TX 78552
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/18/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.262 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $25,571.88
                                                                       Check all that apply.
         Johnny F Evans
                                                                       ❑ Contingent
         234 Bay St. N.W.                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Fort Walton Beach, FL 32548
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/18/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.263 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $10,000.00
                                                                       Check all that apply.
         Johnny F Evans
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         234 Bay St. N.W.
                                                                       ✔ Disputed
                                                                       ❑
         Fort Walton Beach, FL 32548
                                                                       Basis for the claim: Money Loaned
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $9,908.23
3.264                                                                  Check all that apply.
         Jon A. Sims
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         25558 Fitzgerald Ave
                                                                       ✔ Disputed
                                                                       ❑
         Stevenson Ranch, CA 91381
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.265 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $20,000.00
                                                                       Check all that apply.
         Jonathan Adams
                                                                       ❑ Contingent
         1535 Crooked Stick                                            ❑ Unliquidated
                                                                       ❑ Disputed
         San Antonio, TX 78260
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.266 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $8,482.50
                                                                       Check all that apply.
         Jonathan Boyarsky
                                                                       ❑ Contingent
                                                                       ✔ Unliquidated
                                                                       ❑
         130 Dartmouth Street Apt 305
                                                                       ✔ Disputed
                                                                       ❑
         Boston, MA 02116
                                                                       Basis for the claim: 1099 Service Provider
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.267 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,000.00
                                                                       Check all that apply.
         Jonathan Brunkhardt
                                                                       ❑ Contingent
         54b Dow Road                                                  ❑ Unliquidated
                                                                       ❑ Disputed
         Hollis, NH 03049
                                                                                            Severance payment that
                                                                                            was promised but I have
         Date or dates debt was incurred                               Basis for the claim: not received
                                                                       Is the claim subject to offset?
         Last 4 digits of account number                               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $5,000.00
3.268                                                                  Check all that apply.
         Jong Yul Kim
                                                                       ❑ Contingent
         11048 SE 31st St.                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Bellevue, WA 98004
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/16/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.269 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $8,520.00
                                                                       Check all that apply.
         Jordan Case
                                                                       ❑ Contingent
         302 Pinecrest Pl                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Andover, KS 67002
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.270 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $25,500.00
                                                                       Check all that apply.
         Jordan Griffin                                                ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         912 Pappas Ct.
                                                                       ✔ Disputed
                                                                       ❑
         Chula Vista, CA 91911
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.271 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $6,250.00
                                                                       Check all that apply.
         Jordan Lund
                                                                       ❑ Contingent
         5452 Aldrich Ave S                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Minneapolis, MN 55419
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/13/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $5,040.00
3.272                                                                  Check all that apply.
         Jordan Lund
                                                                       ❑ Contingent
         5452 Aldrich Ave S                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Minneapolis, MN 55419
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.273 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,500.00
                                                                       Check all that apply.
         Jose Ceniceros
                                                                       ❑ Contingent
         19621 6th Ave S                                               ❑ Unliquidated
                                                                       ❑ Disputed
         Des Moines, WA 98148
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.274 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $23,000.00
                                                                       Check all that apply.
         Jose Fabian Kabigumila
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         9 Myrna Dr.
                                                                       ✔ Disputed
                                                                       ❑
         Marlborough, CT 06447
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/16/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.275 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $23,000.01
                                                                       Check all that apply.
         Jose Fabian Kabigumila
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         9 Myrna Dr.
                                                                       ✔ Disputed
                                                                       ❑
         Marlborough, CT 06447
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $100,000.00
3.276                                                                  Check all that apply.
         Josef Merrill
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         301 Congress Suite 2200
                                                                       ✔ Disputed
                                                                       ❑
         Austin, TX 78701
                                                                                            Services Provided to the
                                                                       Basis for the claim: company
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.277 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,000.00
                                                                       Check all that apply.
         Josef Merrill
                                                                       ❑ Contingent
         301 Congress Suite 2200                                       ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78701
                                                                                            Board Fees Payable for
                                                                       Basis for the claim: services performed
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes
3.278 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,000.00
                                                                       Check all that apply.
         Joseph Carothers
                                                                       ❑ Contingent
         1813 Honey Hill Rd.                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Hardeeville, KS 66027
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/31/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.279 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,587,264.10
                                                                       Check all that apply.
         Joshua Lawton-Belous
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         9912 Charthouse Cove
                                                                       ✔ Disputed
                                                                       ❑
         Austin, TX 78730
                                                                                            This is the worth of equity
                                                                                            that is owed to me as of
         Date or dates debt was incurred                                                    the last report on Feb 27
                                                                       Basis for the claim: 2023
         Last 4 digits of account number                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $2,400.00
3.280                                                                  Check all that apply.
         Juan Carlos Pea
                                                                       ❑ Contingent
         2206 Robert Wynn                                              ❑ Unliquidated
                                                                       ❑ Disputed
         El Paso, TX 79936
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.281 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $6,250.00
                                                                       Check all that apply.
         Juan Jackson
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         1804 Barksdale Drive
                                                                       ✔ Disputed
                                                                       ❑
         Lexington, KY 40511
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/12/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.282 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,989.30
                                                                       Check all that apply.
         Juan Jackson
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         1804 Barksdale Drive
                                                                       ✔ Disputed
                                                                       ❑
         Lexington, KY 40511
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.283 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,000.00
                                                                       Check all that apply.
         Juan Jackson
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         1804 Barksdale Drive
                                                                       ✔ Disputed
                                                                       ❑
         Lexington, KY 40511
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $2,128.00
3.284                                                                  Check all that apply.
         Juan Jose Simon Ocejo
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         300 E Riverside Dr Apt 446
                                                                       ✔ Disputed
                                                                       ❑
         Austin, TX 78704-0182
                                                                       Basis for the claim: Unknown
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.285 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,497.00
                                                                       Check all that apply.
         Julian Torres
                                                                       ❑ Contingent
         115 La mesa Drive
                                                                       ✔ Unliquidated
                                                                       ❑
                                                                       ❑ Disputed
         Burlingame, CA 94010
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.286 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,500.00
                                                                       Check all that apply.
         Justin Brodie-Kommit
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         3714 Hickory Avenue
                                                                       ✔ Disputed
                                                                       ❑
         Baltimore, MD 21211
                                                                                            Investor in Astralabs as
                                                                                            of November 13, 2021
         Date or dates debt was incurred                               Basis for the claim: through wefunder
                                                                       Is the claim subject to offset?
         Last 4 digits of account number                               ✔ No
                                                                       ❑
                                                                       ❑ Yes
3.287 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $6,000.00
                                                                       Check all that apply.
         KA! Empathogenics                                             ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         442 Lorimer St Ste D PMB 5121
                                                                       ✔ Disputed
                                                                       ❑
         Brooklyn, NY 11206
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $12,000.00
3.288                                                                  Check all that apply.
         Kanari Holdings Inc                                           ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         c/o One Business Center
                                                                       ✔ Disputed
                                                                       ❑
         One JLT, 06-150, Jumeirah Lake Towers                         Basis for the claim: Customer
         PO BOX 3338553, Duba, UAE,                                    Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number




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3.289 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $6,000.00
                                                                       Check all that apply.
         Kboodle, Inc.                                                 ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         PO Box 1426
                                                                       ✔ Disputed
                                                                       ❑
         Crystal Bay, NV 89402
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.290 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $31,449.25
                                                                       Check all that apply.
         Keagan Wernicke
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         6016 Price Drive
                                                                       ✔ Disputed
                                                                       ❑
         North Richland Hills, TX 76180
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.291 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $3,337,820.68
                                                                       Check all that apply.
         Keagan Wernicke
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         6016 Price Drive
                                                                       ✔ Disputed
                                                                       ❑
         North Richland Hills, TX 76180
                                                                                            Common stock and
                                                                       Basis for the claim: preferred investments
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $21,504.00
3.292                                                                  Check all that apply.
         Kevin Houston
                                                                       ❑ Contingent
         1301 W Fifth Street Unit 342
                                                                       ✔ Unliquidated
                                                                       ❑
                                                                       ❑ Disputed
         Austin, TX 78703
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.293 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $39,000.00
                                                                       Check all that apply.
         Kevin Mease
                                                                       ❑ Contingent
         300 S Lamar #207                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78704
                                                                       Basis for the claim: landlord
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.294 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $10,000.00
                                                                       Check all that apply.
         Kishore Anjaneyulu
                                                                       ❑ Contingent
         1204 Yarrow Rd                                                ❑ Unliquidated
                                                                       ❑ Disputed
         Matthews, NC 28104
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/27/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.295 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $8,000.00
                                                                       Check all that apply.
         Kleiner Device Labs                                           ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         999 Driver Way
                                                                       ✔ Disputed
                                                                       ❑
         Incline Village, NV 89451
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $6,900.00
3.296                                                                  Check all that apply.
         Kokoustaja Oy                                                 ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         Rusthollarinkatu 1 A 4
                                                                       ✔ Disputed
                                                                       ❑
         FI-37120, Nokia, Finland,
                                                                                            Newchip Accelerator
                                                                                            Master Membership
         Date or dates debt was incurred                                                    Agreement Section I,
                                                                                            Paragraph 6 −
         Last 4 digits of account number                                                    Accelerator Guarantee.
                                                                       Basis for the claim: Refund.
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes




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3.297 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $250.00
                                                                       Check all that apply.
         Kristopher Scott
                                                                       ❑ Contingent
                                                                       ✔ Unliquidated
                                                                       ❑
         710 Vista Way Apt 802
                                                                       ✔ Disputed
                                                                       ❑
         Red Bluff, CA 96080
                                                                       Basis for the claim: Equity
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.298 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,500.00
                                                                       Check all that apply.
         Kwala                                                         ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         432 Waverley Rd Gundy
         NSW 2337                                                      ✔ Disputed
                                                                       ❑
         Australia                                                     Basis for the claim: Customer
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred

         Last 4 digits of account number

3.299 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $753,440.65
                                                                       Check all that apply.
         Kyle Croyle
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         3812 Wadford St Unit A
                                                                       ✔ Disputed
                                                                       ❑
         Austin, TX 78704
                                                                       Basis for the claim: Equity
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $7,000.00
3.300                                                                  Check all that apply.
         Lacey Hunter                                                  ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         645 Meadow Drive SE
                                                                       ✔ Disputed
                                                                       ❑
         North Bend, WA 98045
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.301 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $4,800.00
                                                                       Check all that apply.
         Laureti Mobility Group Limited                                ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         4 Old Park Lane
                                                                       ✔ Disputed
                                                                       ❑
         London, UK W1K 1QW,
                                                                                            I paid for the fundraising
                                                                                            services according to the
         Date or dates debt was incurred                               Basis for the claim: contract
                                                                       Is the claim subject to offset?
         Last 4 digits of account number                               ✔ No
                                                                       ❑
                                                                       ❑ Yes
3.302 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $31,808.00
                                                                       Check all that apply.
         Laurie Cercone
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         604 Eagle
                                                                       ✔ Disputed
                                                                       ❑
         Austin, TX 78734
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      09/03/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number
         Remarks: New Quest Enterprises, LLC

3.303 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $81,422.04
                                                                       Check all that apply.
         Lawrence D. Hutchison
                                                                       ❑ Contingent
         306 Landing Lane                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Chestertown, MD 21620
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/17/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $1,264,000.00
3.304                                                                  Check all that apply.
         Lawton Management LLC (DBA Squared Compass)
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         9912 Charthouse Cove
                                                                       ✔ Disputed
                                                                       ❑
         Austin, TX 78730
                                                                                            A signed contractual
                                                                                            agreement between
         Date or dates debt was incurred                                                    Lawton Management LLC
                                                                                            (DBA Squared Compass)
         Last 4 digits of account number                                                    and ASTRA for
                                                                       Basis for the claim: consulting services
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes




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3.305 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $8,000.00
                                                                       Check all that apply.
         Leeward Security Ltd.                                         ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         5800 Ambler Drive, Suite 210
         Mississauga, Ontario                                          ✔ Disputed
                                                                       ❑
         Canada L4W 4J4                                                Basis for the claim: Customer
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred

         Last 4 digits of account number

3.306 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,814.00
                                                                       Check all that apply.
         Leonel Andres Barragan Rodriguez
                                                                       ❑ Contingent
         Carrera 111D Bis #78b 19
                                                                       ✔ Unliquidated
                                                                       ❑
                                                                       ❑ Disputed
         Bogota, Colombia,
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.307 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $12,500.00
                                                                       Check all that apply.
         Leonid Mordkovich
                                                                       ❑ Contingent
         1974 Devonshire Ave                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Avon, IN 46123
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $7,500.00
3.308                                                                  Check all that apply.
         Lets Join In Party Ltd                                        ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         12 Sky Lane Ashburton
                                                                       ✔ Disputed
                                                                       ❑
         Melbourne, Victoria, Australia, MA 3147,
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.309 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,500.00
                                                                       Check all that apply.
         Linvest Group, Inc.                                           ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         c/o Aaron Goldstein
                                                                       ✔ Disputed
                                                                       ❑
         2401 S Ocean Drive #2102                                      Basis for the claim: Customer
         Hollywood, FL 33019                                           Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.310 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,201.56
                                                                       Check all that apply.
         Lithium Networks, LLC
                                                                       ❑ Contingent
         PO Box 2994                                                   ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78755
                                                                       Basis for the claim: Vendor
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number      1   9   2    0
                                                                       ❑ Yes

3.311 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $20,833.24
                                                                       Check all that apply.
         Local Driver Tech Inc.                                        ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         33 University Ave.
         Suite 2704                                                    ✔ Disputed
                                                                       ❑
         Toronto, Ontario M5J2S7, Canada                               Basis for the claim: Customer
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $30,000.00
3.312                                                                  Check all that apply.
         Locoal Charcoal Company                                       ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         1201 Citation Circle
                                                                       ✔ Disputed
                                                                       ❑
         Del Valle, TX 78617
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.313 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $6,000.00
                                                                       Check all that apply.
         Loglens Insights Private Limited                              ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         766 The Executive Zone
                                                                       ✔ Disputed
                                                                       ❑
         Chennai, Thailand 60000,
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.314 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,500.00
                                                                       Check all that apply.
         Lonch, Inc                                                    ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         60 Feldspar Rdg
                                                                       ✔ Disputed
                                                                       ❑
         Glastonbury, CT 06033
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.315 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            unknown
                                                                       Check all that apply.
         LOOFT Inc.                                                    ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         260 N Lord St #228
                                                                       ✔ Disputed
                                                                       ❑
         Brookfield, WI 53045
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $20,000.00
3.316                                                                  Check all that apply.
         Loopi, Inc.                                                   ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         3802 38th Ave South
                                                                       ✔ Disputed
                                                                       ❑
         Seattle, WA 98118
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.317 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            unknown
                                                                       Check all that apply.
         Lucas Everidge
                                                                       ❑ Contingent
         5700 E Riverside Drive Apt 2112
                                                                       ✔ Unliquidated
                                                                       ❑
                                                                       ❑ Disputed
         Austin, TX 78741
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.318 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $3,846.16
                                                                       Check all that apply.
         Luke Marek
                                                                       ❑ Contingent
         1913 Garden Street Unit B                                     ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78702
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.319 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,000.00
                                                                       Check all that apply.
         Luso Digital Assets                                           ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         20L Rua Princesa d. Amelia
                                                                       ✔ Disputed
                                                                       ❑
         9000-019 Funchal, Portugal,
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $20,000.00
3.320                                                                  Check all that apply.
         Maana Electric SA                                             ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         12 Rue de I'Industrie
         L-3895 Luxembourg                                             ✔ Disputed
                                                                       ❑
         Fabrice Testa                                                 Basis for the claim: Customer Refund
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred

         Last 4 digits of account number




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3.321 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $6,500.00
                                                                       Check all that apply.
         Makara Insights                                               ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         80 SW 8th Street Suite 2013
                                                                       ✔ Disputed
                                                                       ❑
         Miami, FL 33130
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.322 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $136,988.12
                                                                       Check all that apply.
         Mallory Frick and JM FRICK LLC
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         328 Ledge Stone drive
                                                                       ✔ Disputed
                                                                       ❑
         Austin, TX 78737
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/19/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.323 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $3,340.00
                                                                       Check all that apply.
         Manoj Sonje
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         16303 Chelsea Place Apt. 236
                                                                       ✔ Disputed
                                                                       ❑
         Selma, TX 78154
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $97,265.00
3.324                                                                  Check all that apply.
         Marc Bertrand
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         P.O. Box 1967
                                                                       ✔ Disputed
                                                                       ❑
         New York, NY 10025
                                                                       Basis for the claim: Uknown
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.325 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $97,265.00
                                                                       Check all that apply.
         Marc Bertrand
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         P.O. Box 1967
                                                                       ✔ Disputed
                                                                       ❑
         New York, NY 10025
                                                                       Basis for the claim: Unknown
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.326 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $889.85
                                                                       Check all that apply.
         Marc Russell
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         471 East 4300 North
                                                                       ✔ Disputed
                                                                       ❑
         Provo, UT 84604
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/13/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.327 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $3,000.00
                                                                       Check all that apply.
         Marco Frabotta
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         2222 Detroit Ave 1013
                                                                       ✔ Disputed
                                                                       ❑
         Cleveland, OH 44113
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $684,900.00
3.328                                                                  Check all that apply.
         Maria Sofia Roque Rosales
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         5200 King Charles Drive
                                                                       ✔ Disputed
                                                                       ❑
         Austin, TX 78724
                                                                       Basis for the claim: Restricted stock granted
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.329 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $40,000.00
                                                                       Check all that apply.
         Marine BioEnergy Inc                                          ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         4408 Union Ave
                                                                       ✔ Disputed
                                                                       ❑
         La Canada Flintridge, CA 91011
                                                                                            Payment for Services Not
                                                                       Basis for the claim: Performed
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes
3.330 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $9,000.00
                                                                       Check all that apply.
         MarinX Inc (dba Sensor Globe)                                 ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         27 Parker Street
                                                                       ✔ Disputed
                                                                       ❑
         Dartmouth NS B2Y 2WI,
                                                                       Basis for the claim: Credit Card Payment
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.331 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         Mark and Candice Gimbel Family Living Trust
                                                                       ❑ Contingent
         13258 N. 79th St.                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Scottsdale, AZ 85260
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/18/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $14,533.34
3.332                                                                  Check all that apply.
         Mark Beauharnois
                                                                       ❑ Contingent
         6867 Amanda Lane                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Lockport, NY 14094
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/17/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.333 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,412.28
                                                                       Check all that apply.
         Martin Duenaz
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         30280 Prospect Rd
                                                                       ✔ Disputed
                                                                       ❑
         Nettleton, MS 38858
                                                                       Basis for the claim: Capital Loan
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/13/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.334 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $10,000.00
                                                                       Check all that apply.
         Martin Wagner
                                                                       ❑ Contingent
                                                                       ✔ Unliquidated
                                                                       ❑
         359 Cambridge Drive
                                                                       ✔ Disputed
                                                                       ❑
         Goleta, CA 93117
                                                                       Basis for the claim: Equity
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.335 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $694.80
                                                                       Check all that apply.
         Mary Oziemkowski                                              ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         1961 Bolson Drive
                                                                       ✔ Disputed
                                                                       ❑
         Downers Grove, IL 60516
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $4,922.59
3.336                                                                  Check all that apply.
         Matthew Hendershot
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         1841 W Wisteria Dr
                                                                       ✔ Disputed
                                                                       ❑
         Chandler, AZ 85248
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/23/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.337 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,706.58
                                                                       Check all that apply.
         Matthew Hendershot
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         1841 W Wisteria Dr
                                                                       ✔ Disputed
                                                                       ❑
         Chandler, AZ 85248
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.338 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         Matthew Kuznicki
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         6312 W Hyacinth Street
                                                                       ✔ Disputed
                                                                       ❑
         Chicago, IL 60646
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.339 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $750.00
                                                                       Check all that apply.
         Matthew Perlman
                                                                       ❑ Contingent
         720 Airport Blvd Apt 1138
                                                                       ✔ Unliquidated
                                                                       ❑
                                                                       ❑ Disputed
         Austin, TX 78702
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $92,379.00
3.340                                                                  Check all that apply.
         Matthew Peter Kelly and Xin Geng Kelly
                                                                       ❑ Contingent
         13190 Burke Rd                                                ❑ Unliquidated
                                                                       ❑ Disputed
         Los Altos, CA 94022
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      09/15/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.341 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $29,375.00
                                                                       Check all that apply.
         Max Mahan
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         4479 Vrain St.
                                                                       ✔ Disputed
                                                                       ❑
         Denver, CO 80212
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/12/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.342 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $34,496.80
                                                                       Check all that apply.
         Melane Rella and Angelo Rella
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         628 Burno Mountain Road
                                                                       ✔ Disputed
                                                                       ❑
         Cotopaxi, CO 81223
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/23/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.343 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,000.00
                                                                       Check all that apply.
         Melissa Hector
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         1080 Cypress Parkway Suite 1187
                                                                       ✔ Disputed
                                                                       ❑
         Kissimmee, FL 34759
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            unknown
3.344                                                                  Check all that apply.
         Mergeflo Inc                                                  ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         8000 Research Forest Dr Ste 115 No 1026
                                                                       ✔ Disputed
                                                                       ❑
         The Woodlands, TX 77382
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.345 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $112,883.22
                                                                       Check all that apply.
         Michael Brown
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         56 Blackberry Ln
                                                                       ✔ Disputed
                                                                       ❑
         Yarmouth, ME 04096
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      10/29/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.346 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $14,000.00
                                                                       Check all that apply.
         Michael Gallup
                                                                       ❑ Contingent
                                                                       ✔ Unliquidated
                                                                       ❑
         84 S Shimmering Aspen Cir
                                                                       ✔ Disputed
                                                                       ❑
         Spring, TX 77389-4964
                                                                       Basis for the claim: Equity
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.347 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         Michael Harrison Jr
                                                                       ❑ Contingent
         136 Cowper St                                                 ❑ Unliquidated
                                                                       ❑ Disputed
         Palo Alto, CA 94301
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/13/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $3,125.00
3.348                                                                  Check all that apply.
         Michael J Frank
                                                                       ❑ Contingent
         15 Oval Road                                                  ❑ Unliquidated
                                                                       ❑ Disputed
         Millburn, NJ 07041-1409
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.349 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $29,693.59
                                                                       Check all that apply.
         Michael J Frank
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         15 Oval Road
                                                                       ✔ Disputed
                                                                       ❑
         Millburn, NJ 07041-1409
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.350 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,370.47
                                                                       Check all that apply.
         Michael J Frank
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         15 Oval Road
                                                                       ✔ Disputed
                                                                       ❑
         Millburn, NJ 07041-1409
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.351 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,500.00
                                                                       Check all that apply.
         Michael Michael
                                                                       ❑ Contingent
         333 Turn Pike Dr.                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Folsom, CA 95630
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $20,000.00
3.352                                                                  Check all that apply.
         Michael Miracle
                                                                       ❑ Contingent
         14 Chardonnay Drive                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Holmdel, NJ 07733
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.353 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $198.00
                                                                       Check all that apply.
         Michelle Strayhorn
                                                                       ❑ Contingent
                                                                       ✔ Unliquidated
                                                                       ❑
         586 Main St #E
                                                                       ✔ Disputed
                                                                       ❑
         Hackensack, NJ 07601
                                                                       Basis for the claim: Equity
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.354 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         MINIMUM bio                                                   ✔ Contingent
                                                                       ❑
         81−83 Campbell St.
                                                                       ✔ Unliquidated
                                                                       ❑
         Surry Hills NSW 2010                                          ✔ Disputed
                                                                       ❑
         AUSTRALIA                                                     Basis for the claim: Customer
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred

         Last 4 digits of account number

3.355 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $8,200.00
                                                                       Check all that apply.
         Mitchell McCormick
                                                                       ❑ Contingent
         1125 N Academy Avenue Suite A                                 ❑ Unliquidated
                                                                       ❑ Disputed
         New Braunfels, TX 78130
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $5,500.00
3.356                                                                  Check all that apply.
         Moatassem Abdelhaleem                                         ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         142 Portsaid Street Apt 18
                                                                       ✔ Disputed
                                                                       ❑
         Alexandria, Egypt 00203-22,
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.357 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $3,600.00
                                                                       Check all that apply.
         Morana Enterprises LLC                                        ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         131 Hoffman Avenue
                                                                       ✔ Disputed
                                                                       ❑
         Dayton, OH 45403
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.358 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,900.00
                                                                       Check all that apply.
         Motoblockchain S.L.
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         via Wagner 67
         21100 Varese, Italy                                           ✔ Disputed
                                                                       ❑
                                                                       Basis for the claim: Unknown
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.359 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $11,070.38
                                                                       Check all that apply.
         MRunal Mody
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         4516 Martingale View Lane
                                                                       ✔ Disputed
                                                                       ❑
         Keller, TX 76244-4336
                                                                                            Monies invested through
                                                                       Basis for the claim: Wefunder campaign
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $0.00
3.360                                                                  Check all that apply.
         Myidfi LLC                                                    ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         141 Sioux Drive
                                                                       ✔ Disputed
                                                                       ❑
         Hailey, ID 83333
                                                                                            Customer and Investor
                                                                       Basis for the claim: Note
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.361 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $12,000.00
                                                                       Check all that apply.
         Myocene                                                       ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         Quai Banning 6
                                                                       ✔ Disputed
                                                                       ❑
         4000 Lige, Belgium,
                                                                                            We did not get any of the
                                                                                            services (training, pitch
         Date or dates debt was incurred                                                    review, introduction to
                                                                                            investors) we paid this
         Last 4 digits of account number                               Basis for the claim: amount for.
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
3.362 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            unknown
                                                                       Check all that apply.
         Nadejda Aseeva
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         12604 Duckcreek Ct.
                                                                       ✔ Disputed
                                                                       ❑
         Austin, TX 78729
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.363 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,500.00
                                                                       Check all that apply.
         Nageswara Kondraganti
                                                                       ❑ Contingent
         12365 Willowgate Dr.                                          ❑ Unliquidated
                                                                       ❑ Disputed
         Frisco, TX 75035
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $50,000.00
3.364                                                                  Check all that apply.
         Nainesh Patel
                                                                       ❑ Contingent
         23 Nancy St.                                                  ❑ Unliquidated
                                                                       ❑ Disputed
         Kendall Park, NJ 08824
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      10/28/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.365 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,284.30
                                                                       Check all that apply.
         Naishadh Saraiya
                                                                       ❑ Contingent
         1501 Anglebluff Lane                                          ❑ Unliquidated
                                                                       ❑ Disputed
         Plano, TX 75093
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/16/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.366 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $6,000.00
                                                                       Check all that apply.
         Nebulai Corp                                                  ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         66 W Flagler St Suite 900
                                                                       ✔ Disputed
                                                                       ❑
         Miami, FL 33130
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.367 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $19,983.88
                                                                       Check all that apply.
         Nemanja Milosevic
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         Lange Zeile 12,
         90419 Nuremberg                                               ✔ Disputed
                                                                       ❑
         Germany                                                       Basis for the claim: Revenue Shareholder
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred      09/01/2022

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $7,500.00
3.368                                                                  Check all that apply.
         Nerra Ltd                                                     ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         94 Whitehaven Road
         Glendowie                                                     ✔ Disputed
                                                                       ❑
         Auckland 1071, New Zealand                                    Basis for the claim: Customer
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred

         Last 4 digits of account number




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3.369 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $6,000.00
                                                                       Check all that apply.
         Neurologik FZE                                                ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         Za Obchody 846
                                                                       ✔ Disputed
                                                                       ❑
         Neratovice 27711 Czech Republic,
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.370 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,000.00
                                                                       Check all that apply.
         NeuroTech Group AI Ltd                                        ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         5a Bear Lane
                                                                       ✔ Disputed
                                                                       ❑
         London SE1 OUH, UK,
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.371 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $6,500.00
                                                                       Check all that apply.
         NeuroTech Group AI Ltd                                        ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         5a Bear Lane
                                                                       ✔ Disputed
                                                                       ❑
         London SE1 OUH, UK,
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $9,000.00
3.372                                                                  Check all that apply.
         New Growth Brands, Inc.                                       ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         Attn: Alastair James
                                                                       ✔ Disputed
                                                                       ❑
         3305 Bellaire Park Ct                                         Basis for the claim: Customer
         Fort Worth, TX 76109                                          Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

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3.373 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $9,000.00
                                                                       Check all that apply.
         New Growth Brands, Inc.                                       ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         Attn: Alastair James
                                                                       ✔ Disputed
                                                                       ❑
         3305 Bellaire Park Ct                                         Basis for the claim: Customer
         Fort Worth, TX 76109                                          Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.374 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $8,000.00
                                                                       Check all that apply.
         New Motion, LLC                                               ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         6010 Boeing Place
                                                                       ✔ Disputed
                                                                       ❑
         Los Angeles, CA 90045
                                                                                            lack of serviced
                                                                       Basis for the claim: performed
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes
3.375 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,500.00
                                                                       Check all that apply.
         Nicholas J Hickox
                                                                       ❑ Contingent
         4301 W William Cannon Drive Suite B-150 #107                  ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78749
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $2,500.00
3.376                                                                  Check all that apply.
         Nick Farrenkopf
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         34904 Oyster Bay Ter
                                                                       ✔ Disputed
                                                                       ❑
         Fremont, CA 94555
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.377 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $6,000.00
                                                                       Check all that apply.
         Niobium LLC
                                                                       ❑ Contingent
         12204 FM 1826                                                 ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78737
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.378 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         Nirmalbhai C Patel
                                                                       ❑ Contingent
         52 Meadow Brook Rd.                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Edison, NJ 08837
                                                                       Basis for the claim: 8400Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      09/01/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.379 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,500.00
                                                                       Check all that apply.
         Novogiene Inc                                                 ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         226 Mira Vista
                                                                       ✔ Disputed
                                                                       ❑
         Santa Cruz, CA 95060
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $6,000.00
3.380                                                                  Check all that apply.
         NSure Labs Ltd                                                ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         15 HaZvi
                                                                       ✔ Disputed
                                                                       ❑
         Jerusalem, Israel 9438622,
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.381 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $8,000.00
                                                                       Check all that apply.
         Ntention AS                                                   ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         Granveien 53
                                                                       ✔ Disputed
                                                                       ❑
         Nesbru, 1394,
                                                                                            Debtor unable to fullfill its
                                                                                            obligations under the
         Date or dates debt was incurred                               Basis for the claim: agreement
                                                                       Is the claim subject to offset?
         Last 4 digits of account number                               ✔ No
                                                                       ❑
                                                                       ❑ Yes
3.382 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,500.00
                                                                       Check all that apply.
         Nvzn Augmented Reality Corp                                   ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         PO Box 10024
                                                                       ✔ Disputed
                                                                       ❑
         Deerfield, IL 60015
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.383 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,500.00
                                                                       Check all that apply.
         Obbrey Makundi                                                ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         PO Box 6954
                                                                       ✔ Disputed
                                                                       ❑
         Msasani,
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $5,000.00
3.384                                                                  Check all that apply.
         OffWeGo Inc                                                   ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         201 N. Union Street Suite 110 #19995
                                                                       ✔ Disputed
                                                                       ❑
         Alexandria, VA 22314
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.385 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $6,000.00
                                                                       Check all that apply.
         Ok Away Pty Ltd                                               ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         Level 21, 55 Collins Street
                                                                       ✔ Disputed
                                                                       ❑
         Melbourne, Victoria, Australia, MA 3147,
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.386 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $8,000.00
                                                                       Check all that apply.
         Olivia Kim                                                    ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         2748 Bayberry Way
                                                                       ✔ Disputed
                                                                       ❑
         Fullerton, CA 92833
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.387 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,500.00
                                                                       Check all that apply.
         Optifold                                                      ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         5900 Yonge Street Suite 807
                                                                       ✔ Disputed
                                                                       ❑
         North York, Ontario, M2M 3T8, Canada,
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $7,500.00
3.388                                                                  Check all that apply.
         ORDEREZ PTE LTD                                               ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         PO Box 93169
                                                                       ✔ Disputed
                                                                       ❑
         Omaha, NE 68154
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.389 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,500.00
                                                                       Check all that apply.
         Our Watch Leads - OWL, Lda                                    ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         Rua Pedro Nunes
         Incubadora IPN Block C                                        ✔ Disputed
                                                                       ❑
         3030-199 Coimbra, Portugal                                    Basis for the claim: Customer
         Pedro Resende
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes


         Date or dates debt was incurred

         Last 4 digits of account number

3.390 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $99.00
                                                                       Check all that apply.
         Out of the Box Investments LLC
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         7505 35th Avenue B2
                                                                       ✔ Disputed
                                                                       ❑
         Jackson Heights, NY 11372
                                                                                            I am filing a claim to be
                                                                                            reimbursed the $99
         Date or dates debt was incurred                                                    investment made in
                                                                       Basis for the claim: Astralabs on 4/16/21.
         Last 4 digits of account number                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
3.391 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $10,000.00
                                                                       Check all that apply.
         Paul and Mary Wilcox
                                                                       ❑ Contingent
         380 Columbus Ave. #1                                          ❑ Unliquidated
                                                                       ❑ Disputed
         Boston, MA 02116
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $5,000.00
3.392                                                                  Check all that apply.
         Paul and Mary Wilcox
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         380 Columbus Ave. #1
                                                                       ✔ Disputed
                                                                       ❑
         Boston, MA 02116
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.393 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,000.00
                                                                       Check all that apply.
         Paul Curbo
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         3702 Crestline Road
                                                                       ✔ Disputed
                                                                       ❑
         Fort Worth, TX 76107
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.394 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         Paul Kellam
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         112 Pinnacle Road
                                                                       ✔ Disputed
                                                                       ❑
         Ellington, CT 06029
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.395 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $20,000.00
                                                                       Check all that apply.
         Pebble Labs Inc                                               ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         c/o Steve Ofstehage
                                                                       ✔ Disputed
                                                                       ❑
         100 Entrada Drive                                             Basis for the claim: Customer
         Los Alamos, NM 87544                                          Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $272.50
3.396                                                                  Check all that apply.
         Peeyush Shrivastava
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         975 Manhattan Blvd Apartment 3311
                                                                       ✔ Disputed
                                                                       ❑
         Dayton, KY 41074
                                                                       Basis for the claim: Equity
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.397 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,000.00
                                                                       Check all that apply.
         Petr Zaytsev
                                                                       ❑ Contingent
         3632 Carlisle Dr                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Durham, NC 27707
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.398 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $10,000.00
                                                                       Check all that apply.
         Petr Zaytsev
                                                                       ❑ Contingent
         3632 Carlisle Dr                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Durham, NC 27707
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.399 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $6,000.00
                                                                       Check all that apply.
         Pigee Inc                                                     ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         8 The Green Suite #13419
                                                                       ✔ Disputed
                                                                       ❑
         Dover, DE 19901
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $7,985.00
3.400                                                                  Check all that apply.
         Pipra AG                                                      ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         c/o Bluelion
                                                                       ✔ Disputed
                                                                       ❑
         219 Josefstrasse                                              Basis for the claim: Customer
         8005 Zurich, Switzerland,                                     Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number




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3.401 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $8,000.00
                                                                       Check all that apply.
         PixelFree Studio                                              ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         c/o Solomon Hartmann
                                                                       ✔ Disputed
                                                                       ❑
         8018 Laurel Ridge Court                                       Basis for the claim: Customer
         Delray Beach, FL 33446                                        Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.402 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $20,000.00
                                                                       Check all that apply.
         Plant People PBC                                              ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         406 South Park Ave
                                                                       ✔ Disputed
                                                                       ❑
         Austin, TX 78704
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.403 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $12,000.00
                                                                       Check all that apply.
         Pneumeric, Inc.                                               ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         ATTN: Johnathon Aho
                                                                       ✔ Disputed
                                                                       ❑
         823 4th St SW                                                 Basis for the claim: Customer
         Rochester, MN 55902                                           Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $7,500.00
3.404                                                                  Check all that apply.
         Prismatext Inc                                                ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         800 W 10th Avenue
                                                                       ✔ Disputed
                                                                       ❑
         Anchorage, AK 99501
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.405 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $9,000.00
                                                                       Check all that apply.
         Proc12 Inc                                                    ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         9601 Ridge Walk Court
                                                                       ✔ Disputed
                                                                       ❑
         Fort Lauderdale, FL 33328
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.406 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $20,000.00
                                                                       Check all that apply.
         Protein Fluidics Inc                                          ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         875_B Cowan Rd
                                                                       ✔ Disputed
                                                                       ❑
         Burlingame, CA 94010
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.407 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $12,000.00
                                                                       Check all that apply.
         Qliktag Software Inc.                                         ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         120 Newport Center Drive Suite 100
                                                                       ✔ Disputed
                                                                       ❑
         Newport Beach, CA 92660
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $7,500.00
3.408                                                                  Check all that apply.
         QRerve LLC                                                    ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         6416 Wynkoop Street
                                                                       ✔ Disputed
                                                                       ❑
         Los Angeles, CA 90045
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.409 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $3,000.00
                                                                       Check all that apply.
         Quest Mock
                                                                       ❑ Contingent
         5629 N Lamar Blvd Apt 340                                     ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78751
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.410 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $9,000.00
                                                                       Check all that apply.
         Raise a Hood, Inc                                             ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         Attn: Michael Petersen
                                                                       ✔ Disputed
                                                                       ❑
         19275 Walden Trail                                            Basis for the claim: Customer
         Wayzata, MN 55391                                             Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.411 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,500.00
                                                                       Check all that apply.
         Rajamani Ganesh
                                                                       ❑ Contingent
         13895 Clatsop Way                                             ❑ Unliquidated
                                                                       ❑ Disputed
         San Diego, CA 92129
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $1,000.00
3.412                                                                  Check all that apply.
         Rakesh Bhimaraddi Sasvihalli
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         #132, SRIGANDHA, VINAYAK COLONY,
         VIDYANAGAR                                                    ✔ Disputed
                                                                       ❑
         HUBLI, 580031                                                 Basis for the claim: Lender
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred      08/23/2022

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3.413 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $10,000.00
                                                                       Check all that apply.
         Ralph J Ehrman
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         1862 Marne Road
                                                                       ✔ Disputed
                                                                       ❑
         Bolingbrook, IL 60490
                                                                       Basis for the claim: Equity
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.414 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $8,000.00
                                                                       Check all that apply.
         Ranui Samuels                                                 ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         20 Cook St,
         Gate Pa Tauranga 3112                                         ✔ Disputed
                                                                       ❑
         New Zealand                                                   Basis for the claim: Equity
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred

         Last 4 digits of account number

3.415 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $12,000.00
                                                                       Check all that apply.
         Ravi Kiran Goli                                               ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         31-7-26/1A, 2nd Floor, Rajaji Sgtreet
                                                                       ✔ Disputed
                                                                       ❑
         Kakinada, India,
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $7,500.00
3.416                                                                  Check all that apply.
         RenewIT360                                                    ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         3 Via Apuesto
                                                                       ✔ Disputed
                                                                       ❑
         San Clemente, CA 92673
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.417 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $8,000.00
                                                                       Check all that apply.
         Resolute Future                                               ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         4070 Clover Lane
                                                                       ✔ Disputed
                                                                       ❑
         Dallas, TX 75220
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.418 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $15,000.00
                                                                       Check all that apply.
         Respiration Scan                                              ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         10902 Oasis Drive
                                                                       ✔ Disputed
                                                                       ❑
         Houston, TX 77096
                                                                                            Paid for a service that
                                                                                            was never ever given to
         Date or dates debt was incurred                               Basis for the claim: us as a company.
                                                                       Is the claim subject to offset?
         Last 4 digits of account number                               ✔ No
                                                                       ❑
                                                                       ❑ Yes
3.419 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,500.00
                                                                       Check all that apply.
         Retentacle Inc.                                               ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         525 Pine Ridge Rd
                                                                       ✔ Disputed
                                                                       ❑
         Pickering, Ontario L1W 2M6 Canada,
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $7,000.00
3.420                                                                  Check all that apply.
         Revitalive s.r.o.                                             ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         Svejcarovo namesti 5
         155 00, Prague                                                ✔ Disputed
                                                                       ❑
         Czech Republic                                                Basis for the claim: Customer
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred

         Last 4 digits of account number




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3.421 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $25,000.00
                                                                       Check all that apply.
         Richard Ditter
                                                                       ❑ Contingent
         9449 Poplar Ave                                               ❑ Unliquidated
                                                                       ❑ Disputed
         Germantown, TN 38138
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/18/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.422 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $4,803.84
                                                                       Check all that apply.
         Richard Litzky
                                                                       ❑ Contingent
         5158 Forest Brook Pkwy                                        ❑ Unliquidated
                                                                       ❑ Disputed
         Marietta, GA 30068
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/23/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.423 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $4,000.00
                                                                       Check all that apply.
         Richard Nilsson
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         Gran Via 577, BX2
                                                                       ✔ Disputed
                                                                       ❑
         Barcelona 08011, Spain,
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $10,000.00
3.424                                                                  Check all that apply.
         Richard Pottin
                                                                       ❑ Contingent
         312 - 6380 Buswell Street                                     ❑ Unliquidated
         Richmond, BC                                                  ❑ Disputed
         V6Y 2G2                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred      08/19/2022

         Last 4 digits of account number




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3.425 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $10,000.00
                                                                       Check all that apply.
         Richard Pottin
                                                                       ❑ Contingent
         312 - 6380 Buswell Street                                     ❑ Unliquidated
         Richmond, BC                                                  ❑ Disputed
         V6Y 2G2                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred      11/08/2022

         Last 4 digits of account number

3.426 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $3,000.00
                                                                       Check all that apply.
         Richard S Mackin Jr
                                                                       ❑ Contingent
         1639 Glasgo Rd.                                               ❑ Unliquidated
                                                                       ❑ Disputed
         Griswold, CT 06351
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/30/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.427 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,500.00
                                                                       Check all that apply.
         Robert A Faubion
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         4801 Springdale Road #2108
                                                                       ✔ Disputed
                                                                       ❑
         Austin, TX 78723
                                                                       Basis for the claim: Services Performed
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $15,000.00
3.428                                                                  Check all that apply.
         Robert Bruce
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         7077 N Mason Ave.
                                                                       ✔ Disputed
                                                                       ❑
         Chicago, IL 60646
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      11/05/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.429 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $6,000.00
                                                                       Check all that apply.
         Robert Casinover (The Build)                                  ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         2 Hidden Pond
                                                                       ✔ Disputed
                                                                       ❑
         Glen Head, NY 11545
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.430 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $3,725.00
                                                                       Check all that apply.
         Robert DaLee
                                                                       ❑ Contingent
         1388 Al Seier Road                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Birmingham, AL 35226
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.431 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $6,000.00
                                                                       Check all that apply.
         Rohit Augustus D'Silva                                        ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         13-14952 58 Avenue
                                                                       ✔ Disputed
                                                                       ❑
         Surrey, BC V3S 9J2 Canada,
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $42,285.64
3.432                                                                  Check all that apply.
         Roosevelt Scott
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         802 Hawk View Court
                                                                       ✔ Disputed
                                                                       ❑
         Fairview Heights, IL 62208
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.433 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,005.40
                                                                       Check all that apply.
         Ross Wigle
                                                                       ❑ Contingent
         168 Charterhouse Cres.                                        ❑ Unliquidated
         Ancaster, ON                                                  ❑ Disputed
         Canada L9G 4M5                                                Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred      08/16/2022

         Last 4 digits of account number

3.434 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $10,000.00
                                                                       Check all that apply.
         Rushi Ukani
                                                                       ❑ Contingent
         8 Koster Blvd. Apt. 6A                                        ❑ Unliquidated
                                                                       ❑ Disputed
         Edison, NJ 08837
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/31/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.435 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $3,000.00
                                                                       Check all that apply.
         Ruth Griffith and Anthony Griffith
                                                                       ❑ Contingent
         96 Puunoa Pl.                                                 ❑ Unliquidated
                                                                       ❑ Disputed
         Lahaina, HI 96761
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $2,500.00
3.436                                                                  Check all that apply.
         Ruth Griffith and Anthony Griffith
                                                                       ❑ Contingent
         96 Puunoa Pl.                                                 ❑ Unliquidated
                                                                       ❑ Disputed
         Lahaina, HI 96761
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.437 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $3,000.00
                                                                       Check all that apply.
         Ryan Burt
                                                                       ❑ Contingent
         18115 59th Ave N.                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Minneapolis, MN 55446
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      09/02/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.438 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,000.00
                                                                       Check all that apply.
         Ryan Burt
                                                                       ❑ Contingent
         18115 59th Ave N.                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Minneapolis, MN 55446
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/27/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.439 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,500.00
                                                                       Check all that apply.
         Ryan Burt
                                                                       ❑ Contingent
         18115 59th Ave N.                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Minneapolis, MN 55446
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      11/23/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $2,500.00
3.440                                                                  Check all that apply.
         Ryan Hall
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         6053 Big Pond Trl
                                                                       ✔ Disputed
                                                                       ❑
         Grovetown, GA 30813
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.441 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $4,315.00
                                                                       Check all that apply.
         Ryan McCarthy
                                                                       ❑ Contingent
         4801 S Congress Ave #B5                                       ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78745
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.442 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,333.33
                                                                       Check all that apply.
         Ryan Stewart
                                                                       ❑ Contingent
         2 Mill Falls Road                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Suncook, NH 03275
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.443 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,500.00
                                                                       Check all that apply.
         S. Joseph Margle IV
                                                                       ❑ Contingent
         25 Waters Edge Circle Apt #935                                ❑ Unliquidated
                                                                       ❑ Disputed
         Georgetown, TX 78626
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $24,600.00
3.444                                                                  Check all that apply.
         Saifon Chang
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         5822 E. Wildrose Dr.
                                                                       ✔ Disputed
                                                                       ❑
         Orange, CA 92867
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/30/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
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3.445 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $38,795.00
                                                                       Check all that apply.
         Salvatore Pepe
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         1011 Schindler Dr.
                                                                       ✔ Disputed
                                                                       ❑
         Silver Spring, MD 20903
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/18/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.446 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,000.00
                                                                       Check all that apply.
         Sam Simonovich
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         128 Prince St #35
                                                                       ✔ Disputed
                                                                       ❑
         Tappahannock, VA 22560
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.447 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $17,500.00
                                                                       Check all that apply.
         Samuel Egwu
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         NO 45 Anite Street
                                                                       ✔ Disputed
                                                                       ❑
         Okota Isolo, Lago, LA 10000-45,
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $3,000.00
3.448                                                                  Check all that apply.
         Samuel Esau Goldman
                                                                       ❑ Contingent
         2129 Grand Oaks Ave.                                          ❑ Unliquidated
                                                                       ❑ Disputed
         Altadena, CA 91001
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/12/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
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3.449 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,468.74
                                                                       Check all that apply.
         Sanjay Pinnock
                                                                       ❑ Contingent
         7275 Leonard Street                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Philadelphia, PA 19149
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/12/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.450 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $15,000.00
                                                                       Check all that apply.
         Sanjay V Patel
                                                                       ❑ Contingent
         17199 Carrotwood Dr.                                          ❑ Unliquidated
                                                                       ❑ Disputed
         Riverside, CA 92503
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.451 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $10,000.00
                                                                       Check all that apply.
         Sarah Bailey
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         866 SW 180th Terrace
                                                                       ✔ Disputed
                                                                       ❑
         Hollywood, FL 33029
                                                                       Basis for the claim: Uknown
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $2,500.00
3.452                                                                  Check all that apply.
         Sedjin Alka
                                                                       ❑ Contingent
         203 West Sealy Ave.                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Alvin, TX 77511
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.453 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $486,318.88
                                                                       Check all that apply.
         Shaila Patel
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         1110 Windsor Park Ct
                                                                       ✔ Disputed
                                                                       ❑
         Englewood, NJ 07631
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.454 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $4,200.00
                                                                       Check all that apply.
         Shankar Narayanan Shankar Ganpathy
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         6820 Preston Road Apt. 225
                                                                       ✔ Disputed
                                                                       ❑
         Plano, TX 75024
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/12/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.455 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $6,000.00
                                                                       Check all that apply.
         Shark Ai Capital Corporation                                  ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         2309 Noriega Street #86
                                                                       ✔ Disputed
                                                                       ❑
         San Francisco, CA 94122
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $2,888.00
3.456                                                                  Check all that apply.
         Sheyla Felix
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         31 Avenue Lonard de Vinci
                                                                       ✔ Disputed
                                                                       ❑
         Courbevoie 92400,
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.457 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,000.00
                                                                       Check all that apply.
         Sleep Easy Technology Inc                                     ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         PO Box 160
                                                                       ✔ Disputed
                                                                       ❑
         South Bend, IN 46617
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.458 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $12,000.00
                                                                       Check all that apply.
         SmartBreast Corp                                              ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         14930 Ventura Blvd Ste 325
                                                                       ✔ Disputed
                                                                       ❑
         Sherman Oaks, CA 91403
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.459 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $18,676.32
                                                                       Check all that apply.
         SoftDsk, LLC
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         PO Box 5963
                                                                       ✔ Disputed
                                                                       ❑
         Plant City, FL 33563
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/18/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $5,000.00
3.460                                                                  Check all that apply.
         Spencer Diner
                                                                       ❑ Contingent
         4261 South Pearl Street                                       ❑ Unliquidated
                                                                       ❑ Disputed
         Englewood, CO 80013
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/12/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.461 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $100,000.00
                                                                       Check all that apply.
         Sputnik ATX LLC
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         301 Congress Avenue Suite 2200
                                                                       ✔ Disputed
                                                                       ❑
         Austin, TX 78701
                                                                                            Warrant Valuation
                                                                                            Services Performed for
         Date or dates debt was incurred                               Basis for the claim: the Company
                                                                       Is the claim subject to offset?
         Last 4 digits of account number                               ✔ No
                                                                       ❑
                                                                       ❑ Yes
3.462 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,500.00
                                                                       Check all that apply.
         SRIYA DXI LLC                                                 ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         7975 Inverness Way
                                                                       ✔ Disputed
                                                                       ❑
         Duluth, GA 30097
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.463 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $42,708.22
                                                                       Check all that apply.
         Stephen Berger
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         64 Northland Rd
                                                                       ✔ Disputed
                                                                       ❑
         Windham, NH 03087
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/22/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            unknown
3.464                                                                  Check all that apply.
         Steven Deane-Shinbrot
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         21 NE 22nd Street Apt 614
                                                                       ✔ Disputed
                                                                       ❑
         Miami, FL 33137
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.465 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $4,100.00
                                                                       Check all that apply.
         Steven Keyser
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         106 Beeston Court
                                                                       ✔ Disputed
                                                                       ❑
         Cary, NC 27519
                                                                       Basis for the claim: Services Performed
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.466 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $162,318.00
                                                                       Check all that apply.
         Stripe Capital
                                                                       ❑ Contingent
         185 Berry St. #550
                                                                       ✔ Unliquidated
                                                                       ❑
                                                                       ❑ Disputed
         San Francisco, CA 94107
                                                                       Basis for the claim: A/R
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      8/27/2020                ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.467 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $6,000.00
                                                                       Check all that apply.
         Style Konsult Inc                                             ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         31 W. 34th St 7Fl
                                                                       ✔ Disputed
                                                                       ❑
         New York, NY 10001
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $6,000.00
3.468                                                                  Check all that apply.
         Superbutler Limited                                           ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         Reception A
                                                                       ✔ Disputed
                                                                       ❑
         Aston Seedbed Centre Avenue Road                              Basis for the claim: Customer
         B7 4NT, Birmingham, UK,                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number




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3.469 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         Surajkumar Virendra Gupta                                     ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         Flat Number 1002, Building 3, Atlanta Residency
                                                                       ✔ Disputed
                                                                       ❑
         Anjurphata, Bhiwandi, Thane, Maharashtra, India,
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.470 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $375,000.00
                                                                       Check all that apply.
         Surrounded In Austin, LLC
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         161 Brighton Lane
                                                                       ✔ Disputed
                                                                       ❑
         Austin, TX 78737
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.471 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,000.00
                                                                       Check all that apply.
         Talent Dube
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         8/100 Wittenoom Rd.
         High Wycombe, WA 6057                                         ✔ Disputed
                                                                       ❑
         (Perth, Australia)                                            Basis for the claim: Lender
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes

         Date or dates debt was incurred      08/13/2022

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $26,800.00
3.472                                                                  Check all that apply.
         Tammy Hong
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         12407 Bexley Dr.
                                                                       ✔ Disputed
                                                                       ❑
         Houston, TX 77099
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/30/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.473 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,500.00
                                                                       Check all that apply.
         Tappr App Pty Ltd                                             ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         53 Jacaranda Drive
                                                                       ✔ Disputed
                                                                       ❑
         Mooloolaba, Queensland, 4557, Australia,
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.474 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $8,000.00
                                                                       Check all that apply.
         Target Mobility GMBH                                          ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         Eiderstedter Weg 5B
                                                                       ✔ Disputed
                                                                       ❑
         Berlin, Germany 14129,
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.475 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $40,853.00
                                                                       Check all that apply.
         Tarunkumar Patel
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         10 Dillion Court
                                                                       ✔ Disputed
                                                                       ❑
         Exton, PA 19341
                                                                       Basis for the claim: Equity
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $59,166.66
3.476                                                                  Check all that apply.
         The Hochman Family Trust
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         6104 Sierra Arbor Ct.
                                                                       ✔ Disputed
                                                                       ❑
         Austin, TX 78759
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/23/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.477 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $6,000.00
                                                                       Check all that apply.
         The Wholesome Bowl Pty Ltd                                    ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         26 Cambanora Place
                                                                       ✔ Disputed
                                                                       ❑
         Mooroobool 4870, Queensland, Australia,
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.478 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $52,117.48
                                                                       Check all that apply.
         Thomas Dolezal
                                                                       ❑ Contingent
         1166 Pitkin Ave.                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Akron, OH 44310
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.479 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $10,000.00
                                                                       Check all that apply.
         Thomas E. Canty
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         7592 Mona Ln.
                                                                       ✔ Disputed
                                                                       ❑
         San Diego, CA 92130
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/12/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $3,500.00
3.480                                                                  Check all that apply.
         Thomas Kinne
                                                                       ❑ Contingent
         10500 S I-35 Frontage Road Apt 6207                           ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78748
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.481 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,458.00
                                                                       Check all that apply.
         Thomas Mueller
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         9571 Crestwood Lane
                                                                       ✔ Disputed
                                                                       ❑
         Anaheim, CA 92804
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/23/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number      1   0   9    5

3.482 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,500.00
                                                                       Check all that apply.
         Thomas Mueller
                                                                       ❑ Contingent
         9571 Crestwood Lane                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Anaheim, CA 92804
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.483 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $50,000.00
                                                                       Check all that apply.
         Timothy C. Taylor, Sr
                                                                       ❑ Contingent
         P.O. Box 5371                                                 ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78763
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $15,220.00
3.484                                                                  Check all that apply.
         Trent Gifford dba LGCC, LLC                                   ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         7545 Valley Point Trail
                                                                       ✔ Disputed
                                                                       ❑
         Nisswa, MN 56468
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.485 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,500.00
                                                                       Check all that apply.
         Trevor Byrum
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         10221 Mayfield Rd
                                                                       ✔ Disputed
                                                                       ❑
         Houston, TX 77043
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.486 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,715.00
                                                                       Check all that apply.
         Trey Griffin
                                                                       ❑ Contingent
         224 Shirley Drive                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Buda, TX 78610
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.487 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $53,163.46
                                                                       Check all that apply.
         Trey Griffin
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         224 Shirley Drive
                                                                       ✔ Disputed
                                                                       ❑
         Buda, TX 78610
                                                                                            Shares in Astralabs
                                                                       Basis for the claim: (3,493)
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $6,059.29
3.488                                                                  Check all that apply.
         TRIPA HC, s.r.o.                                              ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         Ita 7
                                                                       ✔ Disputed
                                                                       ❑
         85107 Bratislava, Slovakia,
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.489 Nonpriority creditor’s name and mailing address                     As of the petition filing date, the claim is:            $20,000.00
                                                                          Check all that apply.
         UCROP.IT LLC                                                     ✔ Contingent
                                                                          ❑
                                                                          ✔ Unliquidated
                                                                          ❑
         16192 Coastal Highway
                                                                          ✔ Disputed
                                                                          ❑
         Lewes, DE 19958
                                                                          Basis for the claim:
                                                                          Is the claim subject to offset?
         Date or dates debt was incurred                                  ✔ No
                                                                          ❑
         Last 4 digits of account number
                                                                          ❑ Yes

3.490 Nonpriority creditor’s name and mailing address                     As of the petition filing date, the claim is:            $2,738.56
                                                                          Check all that apply.
         Vaidehi Tembhekar
                                                                          ❑ Contingent
                                                                          ❑ Unliquidated
         6012 Tallow Lane
                                                                          ✔ Disputed
                                                                          ❑
         Frisco, TX 75036
                                                                          Basis for the claim: Wage Claim
                                                                          Is the claim subject to offset?
         Date or dates debt was incurred                                  ✔ No
                                                                          ❑
         Last 4 digits of account number
                                                                          ❑ Yes

3.491 Nonpriority creditor’s name and mailing address                     As of the petition filing date, the claim is:            $10,000.00
                                                                          Check all that apply.
         Verbato Inc                                                      ✔ Contingent
                                                                          ❑
                                                                          ✔ Unliquidated
                                                                          ❑
         1116 Chelsea Avenue Unit 6
                                                                          ✔ Disputed
                                                                          ❑
         Santa Monica, CA 90403
                                                                          Basis for the claim: Customer
                                                                          Is the claim subject to offset?
         Date or dates debt was incurred                                  ✔ No
                                                                          ❑
         Last 4 digits of account number
                                                                          ❑ Yes

         Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $10,000.00
3.492                                                                     Check all that apply.
         Victoria Lerner, Trustee, Lerner Living Trust
                                                                          ❑ Contingent
         11758 Crescenda Street                                           ❑ Unliquidated
                                                                          ❑ Disputed
         Los Angeles, CA 90049
                                                                          Basis for the claim: Investor Note
                                                                          Is the claim subject to offset?
         Date or dates debt was incurred      08/31/2022                  ✔ No
                                                                          ❑
                                                                          ❑ Yes
         Last 4 digits of account number




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3.493 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,727.50
                                                                       Check all that apply.
         Victoria Principato
                                                                       ❑ Contingent
         316 W 81st Street Unit 6                                      ❑ Unliquidated
                                                                       ❑ Disputed
         New York, NY 10024
                                                                                            I worked for ASTRALABS
                                                                                            and never received my
         Date or dates debt was incurred                               Basis for the claim: last paycheck.
                                                                       Is the claim subject to offset?
         Last 4 digits of account number                               ✔ No
                                                                       ❑
                                                                       ❑ Yes
3.494 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,100.00
                                                                       Check all that apply.
         Vikas O'Reilly-Shah
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         4118 42nd Ave NE
                                                                       ✔ Disputed
                                                                       ❑
         Seattle, WA 98105
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.495 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $10,000.00
                                                                       Check all that apply.
         Vincent Goveas
                                                                       ❑ Contingent
         1251 Weathersfield Way                                        ❑ Unliquidated
                                                                       ❑ Disputed
         San Jose, CA 95118
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/30/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $5,000.00
3.496                                                                  Check all that apply.
         Vincent Mach
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         950 Windsong Court
                                                                       ✔ Disputed
                                                                       ❑
         Diamond Bar, CA 91765
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/18/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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3.497 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,000.00
                                                                       Check all that apply.
         Virgilio Yabut
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         A & F Guaranteed Service, LLC
                                                                       ✔ Disputed
                                                                       ❑
         2 Meadow Lark Lane                                            Basis for the claim: Investor Note
         Franklin Park, NJ 08823                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred      08/12/2022

         Last 4 digits of account number

3.498 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $12,000.00
                                                                       Check all that apply.
         Vivacitas Oncology Inc                                        ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         1990 N California Blvd, 8th Floor
                                                                       ✔ Disputed
                                                                       ❑
         Walnut Creek, CA 94596
                                                                                            Per the agreement,
                                                                                            services were not
         Date or dates debt was incurred                                                    performed and $12,000 is
                                                                       Basis for the claim: to be refunded.
         Last 4 digits of account number                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
3.499 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,500.00
                                                                       Check all that apply.
         WeConcile Inc                                                 ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         PO Box 507
                                                                       ✔ Disputed
                                                                       ❑
         Olga, WA 98279
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $2,500.00
3.500                                                                  Check all that apply.
         Wesley Kotcher
                                                                       ❑ Contingent
         39 S Main St.                                                 ❑ Unliquidated
                                                                       ❑ Disputed
         Rosedale, IN 47874
                                                                       Basis for the claim: Rev. Share Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.501 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $10,000.00
                                                                       Check all that apply.
         Wilfrid Jean-Francois
                                                                       ❑ Contingent
         2144 Oakwood Place                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Elmont, NY 11003
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/21/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.502 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,981.05
                                                                       Check all that apply.
         William Adams
                                                                       ❑ Contingent
         11732 Reva Dr.                                                ❑ Unliquidated
                                                                       ❑ Disputed
         Garden Grove, CA 92840
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/12/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.503 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,000.00
                                                                       Check all that apply.
         William P Daly III
                                                                       ❑ Contingent
         907 Lakewood Ct S                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Maplewood, MN 55119
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/24/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $110.00
3.504                                                                  Check all that apply.
         William T Malley
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         3 Nelson Road
                                                                       ✔ Disputed
                                                                       ❑
         Rockland, MA 02370
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.505 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,000.00
                                                                       Check all that apply.
         WMW Partners Inc dba Metapyxl                                 ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         1720 Dekalb Ave
                                                                       ✔ Disputed
                                                                       ❑
         Brooklyn, NY 11237
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.506 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $12,000.00
                                                                       Check all that apply.
         Wofo Ltd                                                      ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         155 Princes Street
                                                                       ✔ Disputed
                                                                       ❑
         Dunedin, New Zealand 9013,
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.507 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $25,000.00
                                                                       Check all that apply.
         Yatinkumar Dodia
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         1539 Streams Way
                                                                       ✔ Disputed
                                                                       ❑
         Allen, TX 75002
                                                                       Basis for the claim: Investor
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $500.00
3.508                                                                  Check all that apply.
         Yemi Taiwo
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         2931 Arbor Lane
                                                                       ✔ Disputed
                                                                       ❑
         Aurora, IL 60502
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




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3.509 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $9,000.00
                                                                       Check all that apply.
         Yeshaya A Koblick
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         11 Garden Street
                                                                       ✔ Disputed
                                                                       ❑
         Sharon, MA 02067
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.510 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,500.00
                                                                       Check all that apply.
         Yindjin Genggam Bersama
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         Kota Kasablanca Office
                                                                       ✔ Disputed
                                                                       ❑
         88 Tebet, Jakarta, Selatan, Indonesia,
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.511 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $15,000.00
                                                                       Check all that apply.
         York gin USA, Inc                                             ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         779 Oak Lane
                                                                       ✔ Disputed
                                                                       ❑
         Sonoma, CA 95476
                                                                       Basis for the claim: Customer
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $6,000.00
3.512                                                                  Check all that apply.
         Your One Stop Shop SRL                                        ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         Dr. Thoma Ionescu 9 Apt 3
                                                                       ✔ Disputed
                                                                       ❑
         Bucharest, Romania 050572,
                                                                                            Payment for Newchip
                                                                                            Accelerator to find us
         Date or dates debt was incurred                                                    investors.
                                                                                            Newchip/ASTRALABS Inc
         Last 4 digits of account number                                                    did not provide the
                                                                       Basis for the claim: service
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes




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3.513 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $10,000.00
                                                                       Check all that apply.
         Zabel M. Miracle and Micheal J Miracle
                                                                       ❑ Contingent
         14 Chardonnay Drive                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Holmdel, NJ 07733
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/19/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.514 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $55,967.62
                                                                       Check all that apply.
         Zachary Fuchs
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         41 Glenbrook Rd.
                                                                       ✔ Disputed
                                                                       ❑
         Monsey, NY 10952
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/18/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.515 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $20,000.00
                                                                       Check all that apply.
         Zachary Fuchs
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         41 Glenbrook Rd.
                                                                       ✔ Disputed
                                                                       ❑
         Monsey, NY 10952
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      10/31/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $15,563.46
3.516                                                                  Check all that apply.
         Zachary Potvin
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         1016 Enchantment Rd.
                                                                       ✔ Disputed
                                                                       ❑
         Rapid City, SD 57701
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred      08/11/2022               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




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            Name




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3.517 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $15,563.46
                                                                       Check all that apply.
         Zachary Potvin
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         1016 Enchantment Rd.
                                                                       ✔ Disputed
                                                                       ❑
         Rapid City, SD 57701
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.518 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $20,000.00
                                                                       Check all that apply.
         Zachary Potvin
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         1016 Enchantment Rd.
                                                                       ✔ Disputed
                                                                       ❑
         Rapid City, SD 57701
                                                                       Basis for the claim: Investor Note
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.519 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,139.28
                                                                       Check all that apply.
         Zev Stampfer
                                                                       ❑ Contingent
         302 W 35th Street                                             ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78705
                                                                       Basis for the claim: Wage Claim
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $5,000.00
3.520                                                                  Check all that apply.
         Zimrii                                                        ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         94-96 Alfred Street South Unit 13
                                                                       ✔ Disputed
                                                                       ❑
         Milsons Point, Australia 2061,
                                                                                            Refund not received
                                                                                            under guarantee on
         Date or dates debt was incurred                                                    contract signed with
                                                                                            debtor (Point 6 of
         Last 4 digits of account number                               Basis for the claim: contract)
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes




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              Name

 Part 3: List Others to Be Notified About Unsecured Claims

 4.     List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection
        agencies, assignees of claims listed above, and attorneys for unsecured creditors.
      If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.


          Name and mailing address                                                     On which line in Part 1 or Part 2 is the related         Last 4 digits of
                                                                                       creditor (if any) listed?                                account number,
                                                                                                                                                if any

 4.1     Bootstrap Servicing, Inc.                                                   Line 3.466

         510 Townsend Street                                                         ❑ Not listed. Explain
         San Francisco, CA 94103

 4.2     Celtic Bank                                                                 Line 3.466

         268 South State Street Suite 300                                            ❑ Not listed. Explain
         Salt Lake City, UT 84111

 4.3     Clearco                                                                     Line 3.115

         Pavilion House,                                                             ❑ Not listed. Explain
         31 Fitzwilliam Square,
         Dublin 2, Ireland




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 Part 4: Total Amounts of the Priority and Nonpriority Unsecured Claims


  5.     Add the amounts of priority and nonpriority unsecured claims.


                                                                                                   Total of claim amounts



  5a. Total claims from Part 1                                                     5a.              $97.17




  5b. Total claims from Part 2                                                     5b.              $32,227,029.30
                                                                                          +

  5c. Total of Parts 1 and 2                                                       5c.              $32,227,126.47
      Lines 5a + 5b = 5c.




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 Fill in this information to identify the case:

 Debtor name                                ASTRALABS Inc

 United States Bankruptcy Court for the:
                                Western District of Texas

 Case number (if known):                23-10164               Chapter    7                                                       ✔ Check if this is an
                                                                                                                                  ❑
                                                                                                                                     amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                           12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.
 1.    Does the debtor have any executory contracts or unexpired leases?
       ❑ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       ✔ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form
       ❑
       206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with whom the
                                                                                          debtor has an executory contract or unexpired lease

       State what the contract or            979 Springdale Rd, Unit 123, Austin, TX      3423 Holdings, LLC
2.1    lease is for and the nature
       of the debtor’s interest              Contract to be REJECTED                      4811 E 7th Street
                                                                                          Austin, TX 78702
       State the term remaining              46 months

       List the contract number of
       any government contract

       State what the contract or            Corporate Housing                            Barrero, Martha A.
2.2    lease is for and the nature
       of the debtor’s interest              Contract to be REJECTED                      2121 Lohman's Crossing Road 504-426
                                                                                          Austin, TX 78734
       State the term remaining              5 months

       List the contract number of
       any government contract

       State what the contract or            Corporate Housing                            Mease, Kevin
2.3    lease is for and the nature
       of the debtor’s interest              Contract to be REJECTED                      300 S. Lamar 207
                                                                                          Austin, TX 78704
       State the term remaining              6 months

       List the contract number of
       any government contract

       State what the contract or
2.4    lease is for and the nature
       of the debtor’s interest

       State the term remaining

       List the contract number of
       any government contract




Official Form 206G                                       Schedule G: Executory Contracts and Unexpired Leases                                             page 1 of 1
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 Fill in this information to identify the case:

  Debtor name          ASTRALABS Inc


  United States Bankruptcy Court for the:               Western              District of             Texas

                                                                                                                                        ✔ Check if this is an
                                                                                                                                        ❑
                                                                                           (State)
  Case number (If known):            23-10164
                                                                                                                                            amended filing


Official Form 206H
Schedule H: Codebtors                                                                                                                                        12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively.
Attach the Additional Page to this page.


  1.    Does the debtor have any codebtors?
        ❑ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        ✔ Yes
        ❑
  2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors,
        Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the
        creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

         Column 1: Codebtor                                                                                  Column 2: Creditor

                                                                                                                                        Check all schedules
         Name                               Mailing address                                                  Name
                                                                                                                                        that apply:

 2.1     Nihar Patel                        979 Springdale Rd. Suite #123                                    Iruka Capital               ✔D
                                                                                                                                         ❑
                                            Street                                                                                       ❑ E/F
                                             979 Springdale Rd. Suite #123                                                               ❑G
                                            Austin, TX 78723
                                                                                                             Apex Funding Source, LLC    ✔D
                                                                                                                                         ❑
                                            City                    State                   ZIP Code                                     ❑ E/F
                                                                                                                                         ❑G
 2.2     Ryan, Andrew                       979 Springdale Rd. Suite #123                                    Iruka Capital               ✔D
                                                                                                                                         ❑
                                            Street                                                                                       ❑ E/F
                                                                                                                                         ❑G
                                            Austin, TX 78723                                                 Apex Funding Source, LLC    ✔D
                                                                                                                                         ❑
                                            City                    State                   ZIP Code                                     ❑ E/F
                                                                                                                                         ❑G
 2.3                                                                                                                                     ❑D
                                            Street                                                                                       ❑ E/F
                                                                                                                                         ❑G

                                            City                    State                   ZIP Code

 2.4                                                                                                                                     ❑D
                                            Street                                                                                       ❑ E/F
                                                                                                                                         ❑G

                                            City                    State                   ZIP Code




Official Form 206H                                                    Schedule H: Codebtors                                                      page 1 of    2
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            Name


                 Additional Page if Debtor Has More Codebtors

                Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                     Column 2: Creditor

                                                                                                                             Check all schedules
         Name                         Mailing address                                           Name
                                                                                                                             that apply:

 2.5                                                                                                                         ❑D
                                      Street                                                                                 ❑ E/F
                                                                                                                             ❑G

                                      City                   State             ZIP Code

 2.6                                                                                                                         ❑D
                                      Street                                                                                 ❑ E/F
                                                                                                                             ❑G

                                      City                   State             ZIP Code




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 Fill in this information to identify the case:

 Debtor name                                                ASTRALABS Inc

 United States Bankruptcy Court for the:
                                            Western District of Texas

 Case number (if known):                              23-10164                           Chapter            7                                                                                     ✔ Check if this is an
                                                                                                                                                                                                  ❑
                                                                                                                                                                                                      amended filing

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                                         12/15

 Part 1: Summary of Assets



 1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

    1a. Real Property:
           Copy line 88 from Schedule A/B........................................................................................................................................                                             $0.00


    1b. Total personal property:
           Copy line 91A from Schedule A/B......................................................................................................................................                                       $1,091,418.50

    1c. Total of all property:
           Copy line 92 from Schedule A/B.........................................................................................................................................
                                                                                                                                                                                                                       $1,091,418.50




  Part 2: Summary of Liabilities




 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
    Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D.................                                                                                                       $1,898,224.25



 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

    3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F....................................................................................                                                                $97.17


    3b. Total amount of claims of non-priority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F......................................................                                                           +       $32,227,029.30




 4. Total liabilities..............................................................................................................................................................................                $34,125,350.72

    Lines 2 + 3a + 3b




Official Form 206Sum                                                                           Summary of Assets and Liabilities for Non-Individuals                                                                            page 1
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 Fill in this information to identify the case:

 Debtor name                                 ASTRALABS Inc

 United States Bankruptcy Court for the:
                                   Western District of Texas

 Case number (if known):                 23-10164                                                                              ✔ Check if this is an
                                                                                                                               ❑
                                                                                                                                   amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                  04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s
name and case number (if known).



 Part 1: Income


 1.     Gross revenue from business

         ❑ None
        Identify the beginning and ending dates of the debtor’s fiscal year, which         Sources of revenue                 Gross revenue
        may be a calendar year                                                             Check all that apply               (before deductions and
                                                                                                                              exclusions)

       From the beginning of the                                                         ✔ Operating a business
                                                                                         ❑                                                   $3,207,568.00
                                                                                         ❑ Other
       fiscal year to filing date:        From 01/01/2023         to    Filing date
                                                  MM/ DD/ YYYY


       For prior year:                    From 01/01/2022         to    12/31/2022       ✔ Operating a business
                                                                                         ❑                                                  $19,882,980.00
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY
                                                                                         ❑ Other

       For the year before that:          From 01/01/2021         to    12/31/2021       ✔ Operating a business
                                                                                         ❑                                                  $10,057,994.00
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY
                                                                                         ❑ Other


 2.     Non-business revenue
         Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and
         royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

         ✔ None
         ❑
                                                                                         Description of sources of revenue    Gross revenue from each
                                                                                                                              source
                                                                                                                              (before deductions and
                                                                                                                              exclusions)

      From the beginning of the
      fiscal year to filing date:       From 01/01/2023          to    Filing date
                                                  MM/ DD/ YYYY


      For prior year:                   From 01/01/2022          to    12/31/2022
                                                  MM/ DD/ YYYY           MM/ DD/ YYYY


      For the year before that:         From 01/01/2021          to    12/31/2021
                                                  MM/ DD/ YYYY           MM/ DD/ YYYY




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 Part 2: List Certain Transfers Made Before Filing for Bankruptcy
 3.     Certain payments or transfers to creditors within 90 days before filing this case
        List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 90 days before filing
        this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3
        years after that with respect to cases filed on or after the date of adjustment.)

        ❑ None
         Creditor’s name and address                     Dates             Total amount or value          Reasons for payment or transfer
                                                                                                          Check all that apply

 3.1.   Iruka Capital                                    12/20/2022                 $372,177.00           ❑ Secured debt
        Creditor's name                                                                                   ✔ Unsecured loan repayments
                                                                                                          ❑
        162 Elmora Ave #211
        Street
                                                         12/27/2022
                                                                                                          ❑ Suppliers or vendors
                                                         01/03/2023                                       ❑ Services
                                                                                                          ❑ Other
        Elizabeth, NJ 07202                              01/10/2023
        City                       State    ZIP Code
                                                         01/17/2023

                                                         01/24/2023

                                                         01/31/2023

                                                         02/07/2023

                                                         02/14/2023

                                                         02/21/2023

                                                         02/28/2023

                                                         03/07/2023

                                                         03/14/2023

 3.2.   3423 Holdings, LLC                               01/03/2023                 $151,127.56           ❑ Secured debt
        Creditor's name
                                                                                                          ❑ Unsecured loan repayments
        4811 E 7th Street
        Street
                                                         02/02/2023
                                                                                                          ❑ Suppliers or vendors
                                                         03/02/2023                                       ❑ Services
                                                                                                          ✔ Other Building Lease
                                                                                                          ❑
        Austin, TX 78702
        City                       State    ZIP Code

 3.3.   Barrero, Martha A.                               01/04/2023                  $19,500.00           ❑ Secured debt
        Creditor's name
                                                                                                          ❑ Unsecured loan repayments
        2121 Lohman's Crossing Road 504-426
        Street
                                                         02/03/2023
                                                                                                          ❑ Suppliers or vendors
                                                         03/02/2023                                       ❑ Services
                                                                                                          ✔ Other Corporate Housing
                                                                                                          ❑
        Austin, TX 78734
        City                       State    ZIP Code




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 3.4.   Apex Funding Source, LLC                           02/03/2023                 $153,000.00            ❑ Secured debt
        Creditor's name                                                                                      ✔ Unsecured loan repayments
                                                                                                             ❑
        3050 Biscayne Blvd Suite 502
        Street
                                                           02/10/2023
                                                                                                             ❑ Suppliers or vendors
                                                           02/17/2023                                        ❑ Services
                                                                                                             ❑ Other
        Miami, FL 33137                                    02/24/2023
        City                        State    ZIP Code
                                                           03/03/2023

                                                           03/10/2023

 3.5.   Mease, Kevin                                       01/04/2023                  $19,500.00            ❑ Secured debt
        Creditor's name
                                                                                                             ❑ Unsecured loan repayments
        300 S. Lamar 207
        Street
                                                           02/03/2023
                                                                                                             ❑ Suppliers or vendors
                                                           03/08/2023                                        ❑ Services
                                                                                                             ✔ Other Corporate Housing
                                                                                                             ❑
        Austin, TX 78704
        City                        State    ZIP Code



 4.     Payments or other transfers of property made within 1 year before filing this case that benefited any insider
        List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or
        co-signed by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount may be
        adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3.
        Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their
        relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
        ❑ None
         Insider’s name and address                        Dates             Total amount or value           Reasons for payment or transfer


 4.1.   Shaila Patel                                       8/1/2022-12                 $98,689.74            Repayment of Debt according to information
        Creditor's name                                    /30/2022                                          provided.
        1110 Windsor Park Ct
        Street



        Englewood, NJ 07631
        City                        State    ZIP Code

         Relationship to debtor

        Mother of Director/Officer Nihar Patel

 4.2.   Andrew Ryan                                        Previous 12                $284,269.00            Gross Wages
        Creditor's name                                    Months from
        7600 Burnet Rd Suite 530                           3/17/2023
        Street
        c/o Ron Satija Hayward PLLC

        Austin, TX 78757
        City                        State    ZIP Code

         Relationship to debtor

        CEO




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 4.3.   Jack Cartwright                                     Previous 12                  $93,750.00            Gross Wages
        Creditor's name                                     Months from
                                                            3/17/2023
        Street




        City                        State    ZIP Code

         Relationship to debtor

        CFO

 4.4.   VP Sales                                            Previous 12                  $31,250.00            Wages & Commissions
        Creditor's name                                     Months from
                                                            3/17/2023
        Street




        City                        State    ZIP Code

         Relationship to debtor

        VP of Sales

 4.5.   Aly O'Desky                                         Previous 12                  $58,333.00            Gross Wages
        Creditor's name                                     Months from
                                                            3/17/2023
        Street




        City                        State    ZIP Code

         Relationship to debtor

        General Counsel

 4.6.   Nihar Patel                                         Previous 12                 $137,500.00            Gross Wages
        Creditor's name                                     Months from
        979 Springdale Rd. Suite #123                       3/17/2023
        Street
        979 Springdale Rd. Suite #123

        Austin, TX 78723
        City                        State    ZIP Code

         Relationship to debtor

        Co-Founder



 5.     Repossessions, foreclosures, and returns
        List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a
        foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
        ✔ None
        ❑
         Creditor’s name and address                        Description of the property                               Date                    Value of property




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 5.1.
        Creditor's name


        Street




        City                        State     ZIP Code



 6.     Setoffs
        List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the
        debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
        ✔ None
        ❑
         Creditor’s name and address                        Description of the action creditor took                    Date action was         Amount
                                                                                                                       taken

 6.1.
        Creditor's name
                                                             XXXX–
        Street




        City                        State     ZIP Code




 Part 3: Legal Actions or Assignments
 7.     Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
        List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any
        capacity—within 1 year before filing this case.
        ❑ None
 7.1.    Case title                              Nature of case                          Court or agency's name and address                    Status of case

        Ms. Sara Wadud vs Astralabs,            Charge of Discrimination in             Texas Workforce Commission on Civil Rights            ✔ Pending
                                                                                                                                              ❑
        Inc.                                    Workplace Complaint                     Division
                                                                                        Name                                                  ❑ On appeal
                                                                                        117 Trinity St 144-T                                  ❑ Concluded
         Case number                                                                    Street

        451-2022-01622
                                                                                        Austin, TX 78701
                                                                                        City                         State     ZIP Code



 8.     Assignments and receivership
        List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
        receiver, custodian, or other court-appointed officer within 1 year before filing this case.
        ✔ None
        ❑




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 8.1.     Custodian’s name and address                     Description of the property                          Value


         Custodian’s name
                                                           Case title                                           Court name and address
         Street
                                                                                                               Name

                                                           Case number                                         Street
         City                        State     ZIP Code



                                                           Date of order or assignment                         City                          State   ZIP Code




 Part 4: Certain Gifts and Charitable Contributions
 9.      List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the gifts
         to that recipient is less than $1,000
         ✔ None
         ❑
 9.1.     Recipient’s name and address                      Description of the gifts or contributions                   Dates given          Value


         Recipient’s name


         Street




         City                        State     ZIP Code


          Recipient’s relationship to debtor




 Part 5: Certain Losses
 10. All losses from fire, theft, or other casualty within 1 year before filing this case.
         ✔ None
         ❑
           Description of the property lost and how the         Amount of payments received for the loss                      Date of loss      Value of property
           loss occurred                                        If you have received payments to cover the loss, for                            lost
                                                                example, from insurance, government compensation,
                                                                or tort liability, list the total received.
                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).


 10.1.




 Part 6: Certain Payments or Transfers
 11. Payments related to bankruptcy
         List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this
         case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a
         bankruptcy case.
         ❑ None




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 11.1.    Who was paid or who received the transfer?            If not money, describe any property transferred           Dates              Total amount or
                                                                                                                                             value

         The Lane Law Firm                                                                                              3/08/2023                    $10,000.00


          Address                                                                                                       03/15/2023                   $10,000.00

         6200 Savoy Dr Ste 1150
         Street


         Houston, TX 77036-3369
         City                        State    ZIP Code


          Email or website address

         billing@lanelaw.com

          Who made the payment, if not debtor?




 12. Self-settled trusts of which the debtor is a beneficiary
         List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a
         self-settled trust or similar device.
         Do not include transfers already listed on this statement.
         ✔ None
         ❑
 12.1.     Name of trust or device                            Describe any property transferred                        Dates transfers       Total amount or
                                                                                                                       were made             value




           Trustee




 13. Transfers not already listed on this statement
         List any transfers of money or other property—by sale, trade, or any other means—made by the debtor or a person acting on behalf of the debtor within 2
         years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both
         outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.
         ✔ None
         ❑
 13.1.    Who received the transfer?                         Description of property transferred or payments            Date transfer       Total amount or
                                                             received or debts paid in exchange                         was made            value




          Address


         Street




         City                        State    ZIP Code


          Relationship to debtor




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 Part 7: Previous Locations
 14. Previous addresses
         List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
         ❑ Does not apply
          Address                                                                                              Dates of occupancy

 14.1. 707 E Live Oak Street                                                                                  From    11/1/2019        To 9/1/2020
       Street



         Austin, TX 78704
         City                        State       ZIP Code



 14.1. 200 E 7th Street                                                                                       From    10/1/2020        To 12/1/2021
       Street



         Austin, TX 78701
         City                        State       ZIP Code




 Part 8: Health Care Bankruptcies
 15. Health Care bankruptcies
         Is the debtor primarily engaged in offering services and facilities for:
          —diagnosing or treating injury, deformity, or disease, or
          —providing any surgical, psychiatric, drug treatment, or obstetric care?
         ✔ No. Go to Part 9.
         ❑
         ❑ Yes. Fill in the information below.
          Facility name and address                         Nature of the business operation, including type of services the       If debtor provides meals
                                                            debtor provides                                                        and housing, number of
                                                                                                                                   patients in debtor’s care

 15.1.
         Facility name


         Street
                                                            Location where patient records are maintained(if different from        How are records kept?
                                                            facility address). If electronic, identify any service provider.
         City                   State    ZIP Code                                                                                 Check all that apply:
                                                                                                                                  ❑ Electronically
                                                                                                                                  ❑ Paper


 Part 9: Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?
         ❑ No.
         ✔ Yes. State the nature of the information collected and retained. Names, addresses for Customer Lists
         ❑
                  Does the debtor have a privacy policy about that information?
                  ❑ No
                  ✔ Yes
                  ❑
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or other pension or profit-
     sharing plan made available by the debtor as an employee benefit?
         ❑ No. Go to Part 10.


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        ✔ Yes. Does the debtor serve as plan administrator?
        ❑
               ❑ No. Go to Part 10.
               ✔ Yes. Fill in below:
               ❑
                      Name of plan                                                                     Employer identification number of the plan

                     Astralabs 401K                                                                   EIN:        –

                       Has the plan been terminated?
                       ✔ No
                       ❑
                       ❑ Yes


 Part 10: Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
 18. Closed financial accounts
        Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold, moved,
        or transferred?
        Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
        cooperatives, associations, and other financial institutions.
        ✔ None
        ❑
         Financial institution name and address           Last 4 digits of account       Type of account              Date account was          Last balance
                                                          number                                                      closed, sold, moved,      before closing
                                                                                                                      or transferred            or transfer

 18.1                                                     XXXX–                         ❑ Checking
        Name
                                                                                        ❑ Savings
        Street
                                                                                        ❑ Money market
                                                                                        ❑ Brokerage
                                                                                        ❑ Other
        City                      State   ZIP Code
 19. Safe deposit boxes
        List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.
        ✔ None
        ❑
 19.1    Depository institution name and address          Names of anyone with access to it            Description of the contents                Does debtor
                                                                                                                                                  still have it?

                                                                                                                                                 ❑ No
                                                                                                                                                 ❑ Yes
        Name


        Street

                                                          Address

        City                      State   ZIP Code


 20. Off-premises storage
        List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which the
        debtor does business.
        ✔ None
        ❑




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 20.1     Facility name and address                              Names of anyone with access to it      Description of the contents                Does debtor
                                                                                                                                                   still have it?

                                                                                                                                                  ❑ No
                                                                                                                                                  ❑ Yes
         Name


         Street

                                                                 Address

         City                      State     ZIP Code




 Part 11: Property the Debtor Holds or Controls That the Debtor Does Not Own
 21. Property held for another
         List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list
         leased or rented property.
         ✔ None
         ❑
          Owner’s name and address                                    Location of the property                Description of the property                  Value


         Name


         Street




         City                        State     ZIP Code




 Part 12: Details About Environmental Information


 For the purpose of Part 12, the following definitions apply:
        Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
        medium affected (air, land, water, or any other medium).
        Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
        owned, operated, or utilized.
        Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly
        harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.

 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
         ✔ No
         ❑
         ❑ Yes. Provide details below.
          Case title                                      Court or agency name and address                   Nature of the case                           Status of case

                                                                                                                                                        ❑ Pending
          Case number
                                                        Name
                                                                                                                                                        ❑ On appeal
                                                        Street
                                                                                                                                                        ❑ Concluded


                                                        City                         State   ZIP Code




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 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?
         ✔ No
         ❑
         ❑ Yes. Provide details below.
          Site name and address                      Governmental unit name and address                   Environmental law, if known                Date of notice


         Name                                       Name


         Street                                     Street




         City                 State   ZIP Code      City                        State   ZIP Code

 24. Has the debtor notified any governmental unit of any release of hazardous material?
         ✔ No
         ❑
         ❑ Yes. Provide details below.
          Site name and address                      Governmental unit name and address                   Environmental law, if known                Date of notice


         Name                                       Name


         Street                                     Street




         City                 State   ZIP Code      City                        State   ZIP Code




 Part 13: Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
         List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case. Include this
         information even if already listed in the Schedules.
         ❑ None
          Business name and address                  Describe the nature of the business                          Employer Identification number
                                                                                                                  Do not include Social Security number or ITIN.
 25.1.
         Newchip LLC                                Unused Business - Never Operated                            EIN:        –
         Name
         979 Springdale Rd.                                                                                       Dates business existed
         Street
                                                                                                                From                  To

         Austin, TX 78723
         City                 State   ZIP Code


          Business name and address                  Describe the nature of the business                          Employer Identification number
                                                                                                                  Do not include Social Security number or ITIN.
 25.2.
         Newchip Fund III LLC                       Unused Business - Never Operated                            EIN:        –
         Name
         979 Springdale Road                                                                                      Dates business existed
         Street
                                                                                                                From                  To

         Austin, TX 78702
         City                 State   ZIP Code




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                 Name                                   of 168
          Business name and address                  Describe the nature of the business                       Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.
 25.3.
         Journey Venture Partners                   Created in anticipation of merger that never              EIN:          –
         Name                                       happened - never operated.
         979 Springdale Rd.                                                                                    Dates business existed
         Street
                                                                                                              From                 To

         Austin, TX 78723
         City                 State   ZIP Code


          Business name and address                  Describe the nature of the business                       Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.
 25.4.
         Sofos LLC                                  Created in anticipation of merger that never              EIN:          –
         Name                                       happened - never operated.
         979 Springdale Rd.                                                                                    Dates business existed
         Street
                                                                                                              From                 To

         Austin, TX 78723
         City                 State   ZIP Code


          Business name and address                  Describe the nature of the business                       Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.
 25.5.
         Newchip Labs LLC                           Unused Business - Never Operated                          EIN:          –
         Name
         979 Springdale Rd.                                                                                    Dates business existed
         Street
                                                                                                              From                 To

         Austin, TX 78723
         City                 State   ZIP Code


 26. Books, records, and financial statements
 26a.     List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          ❑None
           Name and address                                                                                     Dates of service

 26a.1. The Financial Interior LLP                                                                             From 2016            To 2022
          Name
          2618 Kramer Ln 7075
          Street



          Austin, TX 78758
          City                                           State                   ZIP Code


 26b.     List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
          statement within 2 years before filing this case.
          ❑None
           Name and address                                                                                     Dates of service

 26b.1. Jack Cartwright                                                                                        From 10/31/2022      To Current
          Name
          979 Springdale Road 123
          Street



          Austin, TX 78702
          City                                           State                   ZIP Code




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              Name                                   of 168
           Name and address                                                                                   Dates of service

 26b.2. Keiter CPA
                                                                                                             From                To
          Name
          4401 Dominion Blvd
          Street



          Glen Allen, VA 23060
          City                                          State                   ZIP Code

           Name and address                                                                                   Dates of service

 26b.3. Pilot                                                                                                From 2021           To 2021
          Name
          353 Sacramento Street #1900
          Street



          San Francisco, CA 94111
          City                                          State                   ZIP Code


 26c.     List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
          ❑None
           Name and address                                                                                   If any books of account and records are
                                                                                                              unavailable, explain why
 26c.1.
          Intuit Quickbooks
          Name
          5601 Headquarters Dr.
          Street



          Plano, TX 75024
          City                                          State                   ZIP Code

 26d.     List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
          statement within 2 years before filing this case.
          ❑None
           Name and address

 26d.1. Securities & Exchange Commission
          Name
          100 F Street NE
          Street



          Washington, DC 20549
          City                                          State                   ZIP Code


 27. Inventories
        Have any inventories of the debtor’s property been taken within 2 years before filing this case?
        ✔ No
        ❑
        ❑ Yes. Give the details about the two most recent inventories.
          Name of the person who supervised the taking of the inventory                          Date of       The dollar amount and basis (cost, market, or
                                                                                                 inventory     other basis) of each inventory




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          Name and address of the person who has possession of inventory records

 27.1.
         Name


         Street




         City                                     State             ZIP Code

 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in
     control of the debtor at the time of the filing of this case.
          Name                          Address                                                      Position and nature of any         % of interest, if any
                                                                                                     interest

         Ryan, Andrew                  979 Springdale Rd. Suite #123 Austin, TX 78723            CEO, Owner                                          40.39%

         Nihar Patel                   979 Springdale Rd. Suite #123 Austin, TX 78723            Co-Founder,                                          2.19%

         Johan Uddman with                                                                       ,                                                    6.21%
         CashBUS

         Polymath Inc                                                                            ,                                                    5.59%

         Stephen Berger                                                                          ,                                                    3.36%

         Alfredo del Barrio III                                                                  ,                                                    2.34%

         Joshua Lawton-                                                                          ,                                                    2.32%
         Belous/Lawton
         Management LLC

         Bo Shen of Fenbushi                                                                     ,                                                    2.04%
         Investment Fund LP

         Armando Vera Carvajal                                                                   ,                                                    1.40%

         David Johnston of                                                                       ,                                                    1.38%
         Yeomans Capital

         Joep Meijer                                                                             ,                                                    1.32%

         Joe Merrill/Sputnik ATX                                                                 ,                                                    1.24%
         Summar 2018 LLC

         Youbi Capital/Youbi Capital                                                             ,                                                    1.24%
         Cayman GP

         Jeffrey Andreski/Jeffrey B                                                              ,                                                    1.18%
         Andreski LLC

         Keagan Wernicke               6016 Price Drive North Richland Hills, TX 76180           ,                                                    1.06%

         Baroon Krisendat                                                                        ,                                                    1.04%

         Jack Cartwright                                                                         CFO, None                                            0.00%

 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control of
     the debtor, or shareholders in control of the debtor who no longer hold these positions?
         ❑ No
         ✔ Yes. Identify below.
         ❑
          Name                          Address                                                Position and nature of any         Period during which
                                                                                               interest                           position or interest was
                                                                                                                                  held

         Travis Brodeen                                                                       Director,                            From 2021
                                                                                                                                   To   2022

         Edward Tait                                                                          Director,                            From 2021
                                                                                                                                   To   2022


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      Henry Augustine                                                                            CRO,                                  From
                                                                                                                                       To

 30. Payments, distributions, or withdrawals credited or given to insiders
      Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans,
      credits on loans, stock redemptions, and options exercised?
      ❑ No
      ✔ Yes. Identify below.
      ❑
         Name and address of recipient                                      Amount of money or description            Dates                   Reason for providing
                                                                            and value of property                                             the value


 30.1. Ryan, Andrew                                                              $284,269.00 - for last 12 months    03/17/2023            Gross Wages
      Name
      979 Springdale Rd. Suite #123
      Street



      Austin, TX 78723
      City                                     State        ZIP Code


         Relationship to debtor

      CEO
         Name and address of recipient                                      Amount of money or description            Dates                   Reason for providing
                                                                            and value of property                                             the value


 30.2. Jack Cartwright                                                               $93,750.00 - Last 12 Months     03/17/2023            Gross Wages
      Name                                                                                             Payments

      Street




      City                                     State        ZIP Code


         Relationship to debtor

      CFO
         Name and address of recipient                                      Amount of money or description            Dates                   Reason for providing
                                                                            and value of property                                             the value


 30.3. VP Sales                                                                      $31,250.00 - Last 12 Months     03/17/2023            Wages &
      Name                                                                                             Payments                            Commission

      Street




      City                                     State        ZIP Code


         Relationship to debtor

      VP of Sales




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         Name and address of recipient                                      Amount of money or description           Dates             Reason for providing
                                                                            and value of property                                      the value


 30.4. Aly O'Desky                                                                  $58,333.00 - Last 12 Months     03/17/2023        Gross Wages
      Name                                                                                            Payments

      Street




      City                                      State        ZIP Code


         Relationship to debtor

      General Counsel
         Name and address of recipient                                      Amount of money or description           Dates             Reason for providing
                                                                            and value of property                                      the value


 30.5. Nihar Patel                                                                 $137,500.00 - Last 12 Months     03/17/2023        Gross Wages
      Name                                                                                            Payments
      979 Springdale Rd. Suite #123
      Street
      979 Springdale Rd. Suite #123
      Austin, TX 78723
      City                                      State        ZIP Code


         Relationship to debtor

      Co-Founder
         Name and address of recipient                                      Amount of money or description           Dates             Reason for providing
                                                                            and value of property                                      the value


 30.6. Shaila Patel                                                                                   $98,689.74    8/15/2022-12      Scheduled
      Name                                                                                                          /30/2022          Repayment of Debt
      1110 Windsor Park Ct
      Street



      Englewood, NJ 07631
      City                                      State        ZIP Code


         Relationship to debtor

      Mother of Director/Officer Nihar Patel

 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
      ✔ No
      ❑
      ❑ Yes. Identify below.
             Name of the parent corporation                                                     Employer Identification number of the parent corporation

                                                                                               EIN:        –


 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
      ✔ No
      ❑
      ❑ Yes. Identify below.
             Name of the pension fund                                                           Employer Identification number of the pension fund

                                                                                               EIN:        –




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 Part 14: Signature and Declaration


    WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
    bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


    I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true and
    correct.


    I declare under penalty of perjury that the foregoing is true and correct.


    Executed on          09/13/2023
                     MM/ DD/ YYYY




    ✘ /s/ Nihar Patel                                                    Printed name                        Nihar Patel
         Signature of individual signing on behalf of the debtor



      Position or relationship to debtor       Debtor Representative




    Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
    ✔ No
    ❑
    ❑ Yes




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